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SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

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Attorneys for Defendant
PATAGONIA, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MANAL ALEISA, Individually and on Behalf | Case No. 8:22-cv-00195
of All Others Similarly Situated,

Page ID #:1

CLASS ACTION
Plaintiff,
DEFENDANT PATAGONIA, INC.’S
V. NOTICE OF REMOVAL PURSUANT TO
28 U.S.C. §§ 1332, 1441, 1446 AND 1453
PATAGONIA, INC.; and LOST COAST (CLASS ACTION FAIRNESS ACT)

OUTFITTERS, LLC,
Orange Sup. Ct..

Defendants. Case No. 2021-01238022-CU-BT-CXC

 

Trial Date: None set

 

Complaint Filed: December 22, 2021

 

SMRH:4885-8770-4075.3

NOTICE OF REMOVAL

 
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TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
CENTRAL DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, 1446, 1453, and
Federal Rule of Civil Procedure, Rule 81(c), Defendant Patagonia, Inc. (“Patagonia”), by and
through its counsel, hereby removes the above-captioned matter Manal Aleisa v. Patagonia, Inc.,
et al., which is currently pending before the Superior Court of the State of California for the
County of Orange, Case No. 2021-01238022-CU-BT-CXC (hereinafter the “State Court Action’),
to the United States District Court for the Central District of California.' Removal is proper for
the following reasons:

I. BACKGROUND

1. Plaintiff Manal Aleisa (“Plaintiff”) filed a Complaint in the State Court Action
against Patagonia and Defendant Lost Coast Outfitters, LLC (“Lost Coast” and, together with
Patagonia, “Defendants”), on December 22, 2021. Plaintiff served the Complaint on Patagonia on
January 6, 2022.

2. The Complaint asserts the following claims against Patagonia arising from Lost
Coast’s marketing and sale of Patagonia clothing offering ultraviolet ray protection during the
limitations period: (a) violation of the Consumers Legal Remedies Act (Cal. Civ. Code § 1750 et
seq.); (b) violation of the Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 ef seq.); (c)
violation of the False Advertising Law (Cal. Bus. & Prof. Code § 17500 et seq.); (d) Negligent
Misrepresentation; (e) Intentional Misrepresentation; and (f) Unjust Enrichment.

3. The nature of the action is more fully stated in the Complaint, a true and correct
copy of which is attached hereto as Exhibit A.

IL. TIMELINESS OF REMOVAL
4. Under the Class Action Fairness Act (““CAFA”), a defendant sued in state court has

thirty days from service of the summons and complaint to file a notice of removal to federal court.

 

' Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings (including the Complaint), and
orders served on Patagonia in the State Court Action is attached hereto as Exhibit A.

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SMRH:4885-8770-4075.3 NOTICE OF REMOVAL

 

 
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28 U.S.C. § 1446(b)(1). Plaintiff served a copy of the Summons and Complaint in the State Court
Action on Patagonia on January 6, 2022. Ex. A at 51-52. Thus, this Notice of Removal is timely.
I. REMOVAL JURISDICTION UNDER CAFA

5. The Court has jurisdiction over this action pursuant to CAFA, 28 U.S.C. § 1332(d).
Under CAFA, federal courts have original jurisdiction and removal jurisdiction in class actions
where:

(a) any member of the plaintiff class is a citizen of a State different from any
defendant (“minimal diversity”);

(b) the primary defendants are not states, state officials, or other government
entities against whom the district court may be foreclosed from ordering
relief:

(c) there are more than 100 people in the putative class; and

(d) the amount in controversy exceeds $5,000,000.00, exclusive of interests and
costs.

28 U.S.C. § 1332(d); see also Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1020-21 (9th Cir.
2007).

6. As set forth below, this action is removable under CAFA because at least one
member of the putative class is a citizen of a State different from that of one or more of
Defendants (which entities are not states, state officials, or other government entities), there are
more than 100 putative class members, and the amount in controversy exceeds $5,000,000.00,
exclusive of interest and costs.

A. Minimal Diversity

7. Diversity of citizenship is established under CAFA for “a class action in which (A)
any member of a class of plaintiffs is a citizen of a State different from any defendant ... .” 28
U.S.C. § 1332(d)(2). Thus, only minimal diversity is required, and is satisfied where at least one
member of the putative class is a citizen of a state different from the sole named defendant.

8. Defendants are citizens of California:

 

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(a) Plaintiff alleges Patagonia is a California corporation with its principal
place of business in Ventura, California, at 259 W. Santa Clara St., Ventura,
California, 93001 (Complaint § 19) and, therefore, is a citizen of California.
Ghaderi v. United Airlines, Inc., 136 F. Supp. 2d 1041, 1043 n.1 (N.D. Cal.
2001) (“A corporation is a citizen of the state in which it is incorporated and
the state that is its principal place of business.”’).

(b) — Plaintiff alleges Lost Coast is a California limited liability company with its
principal place of business in California (Complaint § 11) and, therefore, is
a citizen of California.

9. Plaintiff is a resident and citizen of California. /d. § 8. Plaintiff purports to
represent a putative “National Class” consisting of “All persons in the United States who
purchased a Patagonia Capilene® Cool Daily and Tropic Comfort Product [the “Products” that
did not have the advertised 50+ UPF sun protection, and who did not receive a refund of monies
paid within the four years prior to filing the Complaint” (id. § 39), as well as a putative “California
Sub-Class” consisting of “All persons in California purchased [the Products] that did not have that
did not have [sic] the advertised 50+ UPF sun protection, and who did not receive a full refund of
monies paid within the four years prior to filing the Complaint” (id. ¥ 40).

10. ___ Plaintiff’s causes of action arise out of purchases she made in California, but
Plaintiff purports to represent a class of “[all] persons in the United States” — whether they reside
in California or not — that made similar purchases. Jd. JJ 13, 15. Patagonia’s customers include
individuals making purchases in states outside of California. Declaration of Meredith Bell (“Bell
Decl.”) § 2. The minimal diversity requirement is thus satisfied here because Defendants are
citizens of California and at least one member of the putative class is a citizen of another state.

B. Entity Status
11. Both Patagonia and Lost Coast are private companies. See Complaint 4 9-11.

Accordingly, the non-governmental entity requirement is satisfied. See 28 U.S.C. § 1332(d)(5).

 

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C. Class Size
12. Plaintiff alleges that the National Class and the California Sub-Class, jointly

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referred to as the “Classes,” “consist of several thousands.” Complaint 45. Because there is no
dispute that the putative class—as defined by Plaintiff—includes more than 100 people, CAFA’s
class size requirement is satisfied.

D. Amount In Controversy

13. | Under CAFA, “the claims of the individual class members shall be aggregated to
determine whether the matter in controversy exceeds the sum or value of $5,000,000, exclusive of
interest and costs.” 28 U.S.C. § 1332(d)(6); see also Dart Cherokee Basin Operating Co., LLC v.
Owens, 135 S. Ct. 547, 554 (2014). The aggregate amount in controversy includes claims for
damages, the cost of complying with injunctive relief, and attorneys’ fees. Gugliemino v. McKee
Foods Corp., 506 F.3d 696, 700 (9th Cir. 2007); Anderson v. SeaWorld Parks & Entm’t, Inc.,
2015 US. Dist. LEXIS 128786, at **6-7 (N.D. Cal. Sept. 22, 2015). “[A] defendant’s notice of
removal need include only a plausible allegation that the amount in controversy exceeds the
jurisdictional threshold.” Dart, 135 S. Ct. at 554. Where the plaintiff has not demanded a sum
certain in the complaint, the defendant must only prove the amount in controversy by a
preponderance of the evidence for purposes of determining CAFA removal jurisdiction.
Lowdermilk v. United States Bank Nat’! Assoc., 479 F.3d 994, 998 (9th Cir. 2007); cf Gugliemino,
506 F.3d at 700 (the party seeking removal must “prove with legal certainty” the amount in
controversy only when the state court complaint affirmatively alleges an amount in controversy
less than the jurisdictional threshold).

14. The amount in controversy allegation in a notice of removal should be accepted as
true when not contested by a plaintiff or questioned by the court. Dart, 574 U.S. 81, 87 (2014). If
the court is uncertain about whether all matters in controversy meet the $5,000,000 jurisdictional
threshold under CAFA, “the court should err in favor of exercising jurisdiction over the case.”
Kearns v. Ford Motor Co., 2005 U.S. Dist. LEXIS 41614, at *19 (C.D. Cal. Nov. 18, 2005).
While Patagonia denies that Plaintiff or the putative class members are entitled to any relief, in

determining the amount in controversy the Court must assume that allegations in the Complaint

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SMRH:4885-8770-4075.3 NOTICE OF REMOVAL

 

 
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are true and that Plaintiff will ultimately prevail. Kenneth Rothschild Trust v. Morgan Stanley
Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002); see also Korn v. Polo Ralph Lauren
Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008) (“the ultimate inquiry is what amount is
put ‘in controversy’ by the plaintiff's complaint, not what a defendant will actually owe’).

15. Plaintiff does not demand a sum certain in the Complaint, but the minimum amount
in controversy requirement is nonetheless satisfied.

16. Plaintiff alleges that the putative nationwide class includes “[a]ll persons in the
United States who purchased [the Products] that did not have the advertised 50+ UPF sun
protection, and who did not receive a refund of monies paid within the four years prior to filing the
Complaint.” Complaint 4 39. Plaintiff further requests “[a]n Order requiring Defendants to accept
returns of the Product by all members of the Classes in exchange for full a refund of all monies
paid, for Products purchased during the entire Class Period, including after September 1, 2021.”
Id. at Prayer For Relief (also requesting “[a]n order requiring Defendants to pay restitution to
Plaintiff and the Class due to Defendant's UCL violations, pursuant to Cal. Bus. & Prof. Code §§
17200-17205 in the amount of the money paid to Defendants not refunded....”); see also id. | 138
(alleging that Plaintiff and the putative class members are “entitled to seek disgorgement and
restitution of wrongful profits, revenue, and benefits conferred upon Defendants...”). In fact,
Plaintiff seeks at least $85.80—the total amount she allegedly paid Defendants for a Patagonia
Women's Topic Comfort Hoody with UV sun protection. Jd. J] 14-15. The Civil Case Cover
Sheet filed by Plaintiff on December 22, 2021 shows that the “[a]mount demanded exceeds
$25,000.” Ex. A at 36. Patagonia’s total sales of the Products during the four-year period before
the Complaint was filed, less returns, is greater than $5,000,000.00. Bell Decl. 93. Plaintiff
alleges that the class is entitled to “full a refund of all monies paid, for Products purchased during
the entire Class Period, including after September 1, 2021...” Complaint at Prayer for Relief.
Therefore, Plaintiff and the class seek damages well in excess of $5,000,000.00.

17. Plaintiff also seeks to recover attorneys’ fees. /d. at Prayer For Relief. Courts in
the Ninth Circuit have held that removing defendants can reasonably assume that plaintiffs are

entitled to attorneys’ fees valued at 25% of projected damages. See, e.g., Fong v. Regis Corp.,

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SMRH:4885-8770-4075.3 NOTICE OF REMOVAL

 

 
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2014 US. Dist. LEXIS 275, at *23 (N.D. Cal. Jan. 2, 2014); Molnar v. 1-800-Flowers.com, Inc.,
2009 U.S. Dist. LEXIS 131768 at *15. Plaintiff seeks a full refund of at least tens of millions of
dollars in clothing sales. Accordingly, under the Ninth Circuit’s benchmark, the attorneys’ fees
alone could exceed the total jurisdictional amount necessary for removal under CAFA.

18. Plaintiff also seeks injunctive relief not only enjoining Defendants from engaging
in future wrongful conduct but also requiring Defendants to engage in a “robust corrective
advertising campaign” that would require Defendants to pay for direct mailings and email blasts,
website and store posters, and media spots. Complaint 4§ 105, Prayer For Relief. The injunctive
relief sought by Plaintiff further increases the amount in controversy—an amount that clearly
exceeds the minimum necessary for removal jurisdiction under CAFA. See, e.g., Rauschkolb v.
Chattem, Inc., 2016 U.S. Dist. LEXIS 12776, at *8 (S.D. Ill. Feb. 3, 2016) (“The plaintiff seeks
prospective relief that could include, among other things, a corrective advertising campaign, a
label change, and removing products from the shelf. The cost of the possible prospective relief
would be significant.”’).

19. Patagonia denies all liability and damages, and denies that a class may be certified
pursuant to Federal Rule of Civil Procedure 23. However, based on Plaintiff’s and the putative
classes’ claims and the damages asserted against Defendants, Patagonia’s total sales of the
Products during the relevant period, the significant amounts to be expended on attorneys’ fees
litigating a nationwide consumer class action, and the costs associated with complying with
injunctive and declaratory relief, Patagonia alleges in good faith that the amount in controversy
supports this Court’s jurisdiction under CAFA.

IV. VENUE

20. Venue is proper in the Central District of California pursuant to 28 U.S.C. §§

1441(a) and 1446(a) because the county in which the State Court Action is pending is within this

District.

 

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V. NOTICE TO PLAINTIFF AND THE SUPERIOR COURT FOR THE COUNTY OF
ORANGE

21. Pursuant to 28 U.S.C. § 1446(d), Patagonia will promptly serve this Notice of
Removal on Plaintiff, through her counsel of record, Abbas Kazerounian of KAZEROUNI LAW
GROUP, APc, 245 Fischer Avenue, Unit D1, Costa Mesa, California 92626, and will promptly
file a copy of the Notice of Removal with the Clerk of the Superior Court of the State of California
for the County of Orange.

22. Pursuant to 28 U.S.C. § 1446(a), the undersigned counsel for Patagonia has read
the foregoing and signs the Notice of Removal pursuant to Federal Rule of Civil Procedure 11.

WHEREFORE, Patagonia requests that the State Court Action pending before the
Superior Court of the State of California for the County of Orange be removed to the United States

District Court for the Central District of California.

 

Dated: February 7, 2022 SHEPPARD MULLIN RICHTER & HAMPTON LLP
By /s/ Alyssa Sones
P. CRAIG CARDON
ALYSSA SONES
CHLOE CHUNG

Attorneys for Defendants
PATAGONIA, INC.

 

SMRH:4885-8770-4075.3 NOTICE OF REMOVAL

 
Case 8:22-cv-00195-JLS-KES Document1 Filed 02/07/22 Page 9of65 Page ID #:9

EXHIBIT A
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Electronically Filed by Superior Court of California, County of Orange, Son 509'o3} 753 sore.

30;2041-01238022- -CU-BT-CXC - ROA # 4 - DAVID H. YAMASAKI, Clerk of the Court By Georgina Ramirez, Deputy Cle Geto
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(cir SUM ONS. ‘aL) (50 SOURT USE ONLY
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):

PATAGONIA, INC.; AND LOST COAST OUTFITTERS, LLC,

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

MANALALEISA, Individually and On Behalf Of Others Similarly
Situated

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca. gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
jAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacién a
continuacion.

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta 0 una llamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informacién en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacién, pida al secretario de la corte
que le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
podra quitar su sueldo, dinero y bienes sin mas advertencia.

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisién a abogados. Si no puede pagar a un abogado, es posible que cumplia con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con fa corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is: CASF NIIMRER-
(El nombre y direccion de la corte es): SUP’ Ct OF CA, County Of Orange  39.2021-01238022-CU-BT-CXC
Civil Complex Center
751 W. Santa Ana Blvd., Santa Ana, CA 92701 Judge Peter Wilson
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:

(El nombre, la direccién y el numero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Abbas Kazerounian, Kazerouni Law Group, APC, 245 Fischer Ave, Suite D1, Costa Mesa, CA 92626, (800) 400-6808

 

 

 

 

 

 

 

Clerk, by , Deputy

DATE: 12/22/2021 gavin H. YAMASAKI, Clerk of the Court Georgina Ramirez (Adjunto)

 

(Fecha) (Secr

(For proof of service of this summons, use Proof of Service of Summons (.U557, CE v rer tS = ~~
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS- 010)).
NOTICE TO THE PERSON SERVED: You are served

1. [__] as an individual defendant.

2. {__] as the person sued under the fictitious name of (specify):

 

(sea")

  

3. [1] on behalf of (specify):

under: L__] CCP 416.10 (corporation) [__] CCP 416.60 (minor)
[__] CCP 416.20 (defunct corporation) [__] CCP 416.70 (conservatee)
[_] CCP 416.40 (association or partnership) [—_] CCP 416.90 (authorized person)

[] other (specify):
4. (] by personal delivery on (date):

 

 

 

 

Page 1 of 1
Form Adopted for Mandatory Use SUMMONS Code of Civil Procedure §§ 412.20, 465
Judicial Council of California www.courtinfo.ca.gov

SUM-100 [Rev. July 1, 2009)
 

 

  
 

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$0-20¢1-01 23 022- CU-BT-CXC - ROA # 2 - DAVID H. YAMASAKI, Clerk of the Court By Georgina aires, Deputy Clerk.

1] KAZEROUNI LAW GROUP, APC
Abbas Kazerounian, Esq. (249203)

 

 

 

2 ak@kazlg.com
3]| Pamela E. Prescott, Esq. (328243) Assigned for All Purposes
4 pamela@kazlg.com ; Judge Peter Wilson
245 Fischer Avenue, Unit D1
5] Costa Mesa, CA 92626 CX-10e
Telephone: (800) 400-6808
6 Facsimile: (800) 520-5523
7
g { Additional Counsel On Signature Page]
9|| Attorneys for Plaintiff,
Manal Aleisa
10
Fe 11 SUPERIOR COURT OF THE STATE OF CALIFORNIA. ;
S< 1 COUNTY OF ORANGE - UNLIMITED CIVIL ;
er Case No.: 20-202 1-01238022-CU-BT-CXC
° 13] MANAL ALEISA,
RCS 14|| Individually and On Behalf of All CLASS ACTION |
32 15 Others Similarly Situated, COMPLAINT FOR DAMAGES
x . AND PUBLIC _ INJUNCTIVE
ma 16 Plaintiff, RELIEF FOR VIOLATION OF:
iS v. 1) CALIFORNIA’S CONSUMER
V7 LEGAL REMEDIES ACT, CAL.
1g|| PATAGONIA, INC.; and LOST CIV. CODE §§ 1750, et seq.;
COAST OUTFITTERS, LLC, 2) UNFAIR COMPETITION LAW,
19 Defendants CAL. BUS. & PROF. §§ 17200,
20 , ET SEQ.;
3) CALIFORNIA’S FALSE
21 ADVERTISING BUS. & PROF.
22 CODE §§ 17500, et seq.;
33 4) NEGLIGENT
MISREPRESENTATION;
24 5) INTENTIONAL
35 MISREPRESENTATION; and
6) UNJUST ENRICHMENT.
26 JURY TRIAL DEMANDED
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CLASS ACTION COMPLAINT

 

 

 

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KAZEROUNI

LAW GROUP, APC

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INTRODUCTION
1. Plaintiff MANAL ALEISA (“Ms. Aleisa,” or “Plaintiff’), individually

 

and on behalf of all others similarly situated, brings this action for damages and
injunctive relief, and any other available legal or equitable remedies, resulting from
the unlawful practices and conduct of Defendants PATAGONIA, INC. (“Patagonia”),
and LOST COAST OUTFITTERS, LLC (“Lost Coast Outfitters”) (together the
“Defendants’’) in violation of: (1) California’s Consumer Legal Remedies Act
(“CLRA”), Cal. Civ. Code §§ 1750, et seq.; (2) California’s Unfair Competition Law
(“UCL”), Bus. & Prof. Code §§ 17200, et seq.; (3) California’s False Advertising Bus.
& Prof. Code §§ 17500, et seq.; and for (4) Negligent Misrepresentation; (5)

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Intentional Misrepresentation and Fraud; and (6) Unjust Enrichment.

2. This action arises out of material misrepresentations and omissions made

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with regards to Defendants’ advertisement and sale of Patagonia’s Women’s Tropic

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Comfort Hoody, and substantially similar products such as Patagonia Capilene® Cool

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Daily and Tropic Comfort that are manufactured by Patagonia (the “Product”), by

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falsely representing the Product contained 50+ UPF sun protection when in fact it

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contains far less sun protection.

3. At all times relevant herein, Defendants have operated, and continue to

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operate, clothing stores across the nation, including in California or online.

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4. Plaintiff alleges the following based upon personal knowledge as to

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herself and her own acts, and on information and belief as to all other matters,

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including, and based upon, inter alia, the investigation conducted by and through her

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attorneys which includes, without limitation, a review of Defendants’ public

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documents, announcements, and wire and/or press releases published by and regarding

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Defendants, and information readily obtainable on the internet.
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CLASS ACTION COMPLAINT

 

 

 
 

 

 

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JURISDICTION AND VENUE

5. Subject matter jurisdiction is proper in this Court for the statutory causes
of action, and because a substantial part of the events giving rise to the claims occurred
in the County of Orange, State California, and each Defendants conducts substantial
business within the County of Orange.

6. This Court has personal jurisdiction over Patagonia and Lost Coast
Outfitters because they each conduct business in the County of Orange, State
California; and Plaintiff was injured in the County of Orange, State California where
Plaintiff resides.

7. Venue is proper.

PARTIES

8. At all times relevant, Plaintiff was and is an individual residing in the
State of California, County of Orange.

9. - Defendant Patagonia is part of a multinational clothing company that
owns, manages, and operates a portfolio of stores across the world including clothing
stores and facilities throughout the United States. Patagonia conducts business in the
County of Orange, State of California; and, upon information and belief Defendant
Patagonia, Inc., is headquartered at 259 W. Santa Clara St., Ventura, California,
93001.

10. Defendant Lost Coast Outfitters is a clothing company that owns,
manages, and operates a store in San Francisco, California.

11. Lost Coast Outfitters conducts business in the County of Orange, State
of California; and, upon information and belief Lost Coast, Inc., is headquartered 540
Jackson St, San Francisco, California 94133.

12. Plaintiff alleges that at all times relevant herein, Defendants conducted
business in the State of California, in the County of Orange, including but not limited
to trade or commerce through advertising and offering various goods and services to

consumers in California and throughout the United States.

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CLASS ACTION COMPLAINT

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FACTUAL ALLEGATIONS
13. Onorabout September 11, 2021, Plaintiff searched online from her home

in Irvine, California looking to purchase luxury outdoor apparel containing sun-
protectant fabric for her personal use.

14. While viewing the various clothing items advertised for sale online,
Plaintiff visited Lost Coast Outfitters’ website (lostcoastoutfitters.com) and came
across the Product, a Patagonia Women’s Topic Comfort Hoody with UV sun

protection.

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15. That same day, Plaintiff purchased the Product online through Lost Coast

Outfitters’ website for approximately $85.8, including sales tax.

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16. At the time of Plaintiff's purchase and review of the Product, it was
12|/expressly represented and advertised to Plaintiff that the Product was a “fast-drying
13|| fishing and travel hoody . . . that offers 50+ UPF sun protection.”!

14 17. This feature was a material term of the purchase, as Plaintiff decided to
15|/purchase the item to be worn outdoors and both personally and reasonably believed
16||the Product had the advertised level of sun protection.

17 18. A true and correct copy of Lost Coast Outfitters’ website containing the
18||Product’s description, in which Plaintiff review and relied upon at the time of her
19|| purchase on or about September 11, 2021, is below:

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2611 See Lost Coast Outfitters, Patagonia Women’s Tropic Comfort Hoody,
27] https://www. lostcoastoutfitters.com/products/patagonia-womens-tropic-com fort-

38 hoody?variant=32301193101372 (last visited Oct. 22, 2021).

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CLASS ACTION COMPLAINT

 

 

 

 

 
 

 

 

 

 

 

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Size:

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This comfortable, fast-drying lishing and travel hoody
wicks away moisture and offers 30+ UPF sun
protection and HeiQ® Fresh durable odor control for
extended wear in hot and humid weather. Fair Trade
Certified™ sewn,

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19. Upon information and belief, the above description of the Product was
on Life Coasts’ website until at least the end of October of 2021.”
20. Prior to Plaintiff purchasing the Product, Patagonia issued a voluntary

recall on any Product purchased before September 1, 2021 from two of Patagonia’s

 

* In or about November of 2021, Lost Coast Outfitters removed the portion of the online
description of the Product indicating that it has “50+ UPF sun protection.” However,
upon information and belief, Plaintiff alleges that many consumers, including Plaintiff,
relied on the representations that were present at the time of sale that indicated that the
Product did in fact have 50+ UPF sun protection, when it in fact does not.

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CLASS ACTION COMPLAINT

 
 

 

 

 

 

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sun protection lines, Capilene® Cool Daily and Tropic Comfort, because they did not

meet the 50+ UPF rating that was advertised.’

21. Plaintiff was not aware of that recall at the time of purchase.

22. Based on Patagonia’s representations regarding its voluntary recall, many
consumers (including Plaintiff) are not part of the group of consumers eligible for a
refund as the refund only applies to purchases made before September 1, 2021.4

23. Patagonia has admitted that despite advertising and representing the
Product as having 50+ UPF sun protection, Patagonia’s “tests confirm a range of 17—
45 UPF instead of 50+.”°

24. After purchasing the Product, Plaintiff was surprised to discover that the
Product did not in fact offer the 50+ UPF sun protection as advertised. Instead,
Plaintiff learned that the Product offered sun protection of only 17-45 UPF, averaging
at about 34 UPF.®

25. This protection is substantially far less than the advertised range, which
was a material term that affected Plaintiffs decision to purchase the Product.

26. In addition, upon information and believe, the Product has been found to

 

3 Outside Business Journal, RECALL: Patagonia sun protection products, (July 1,
2021), —_-https://www.outsidebusinessjournal.com/brands/camping-and-hiking/recall-
patagonia-sun-protection-products/; see also
https://7news.com.au/lifestyle/recal|s/patagonia-shirts-hoodies-and-face-masks-
urgently-recalled-over-uv-radiation-exposure-concerns-c-3341635 (last visited Oct.
22, 2021).

4 Patagonia, Voluntary Recall, Capilene® Cool Daily and Tropic Comfort UPF
Products, — https://www.patagonia.com/Vvoluntary-recall-of-capilene-cool-daily-and-
tropic-comfort-upf-products/ (last visited Dec. 13, 2021) (“Check your style number if
you bought one of these products before September 1, 2021.”) (emphasis added).

> Id.
6 See supra, footnote 6.

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CLASS ACTION COMPLAINT

 

 

 
 

 

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potentially “lead to sunburn and may pose a risk of serious and sometimes irreversible
damage of skin.”?

27. This is not what Plaintiff had bargained nor anticipated when she
purchased the Product.

28. Had Plaintiff known the actual protection levels of the Product, she would
not have purchased the Product and/or purchased a different product.

29. Based on the advertisements accompanying the Product, Plaintiff and
those similarly situated had no way of knowing that the Product did not in fact provide
a 50+ UPF protection level.

30. Plaintiff saw and reasonably relied upon Defendants’ representations
regarding the Product, and Plaintiff reasonably expected that Defendants would offer
her the advertised protection levels against ultraviolet rays when purchasing the
Product.

31. Asaresult of unfair and deceptive practices of Defendants, Plaintiff and
other consumers similarly situated paid Defendants under the false impression that
Defendants would provide Products containing the advertised 50+ UPF sun protection
sun protection.

32. Although Patagonia appears to have issued a voluntary recall of the
Product (which upon information and belief has merely been posted to its website to
date), such notice has not been reasonably provided to affected consumers.

33. At the time Plaintiff purchased the Product other retailers, including Lost
Coast Outfitters, were still advertising the Product as having 50+ UPF sun protection.’

34. Thus, consumers are continuing to be misled regarding the nature of the

Product, including Plaintiff who did not receive notice (nor was she otherwise made

 

7 Id

8 See Patagonia Capilene Cool Daily Sun Mask
https://www.rei.com/product/1 832 13/patagonia-capilene-cool-daily-sun-mask (“built-
in UPF 50+ sun protection.”) (last visited Oct. 22, 2021).

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CLASS ACTION COMPLAINT

 

 

 

 
 

 

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aware) of the Product’s recall at the time of purchase.

2 35. Plaintiff is one of many consumers who were deceived by Defendants
3] into purchase a Product that did not come with the advertised level of UV protection.
4 36. Defendants exploited Plaintiff and similarly situated customers for
5||financial gain as the expense of consumers.
6 37. Plaintiff would like to purchase products from Defendants in the future
7|| but cannot be certain the she will not be misled again concerning the functions and
capabilities of future products due to misrepresentations in the past, and until
9|| Defendants make appropriate corrections to their advertisements and properly inform
10]| affected consumers of the true nature of the products.
11 CLASS ACTION ALLEGATIONS
12 38. Plaintiff brings this action on behalf of Plaintiff and all others similarly
13||situated (the “National Class” and “California Sub-Class”) pursuant to California
14|| Code of Civil Procedure Section 382.
15 39. Plaintiff represents, and is a member of, the Nationwide Class, which is
16|| defined as follows:
17 All persons in the United States who purchased a Patagonia
18 Capilene® Cool Daily and Tropic Comfort Product that did
not have the advertised 50+ UPF sun protection, and who did
19 not receive a refund of monies paid within the four years
0 prior to tiling the Complaint.
21 ' 40. Plaintiff represents, and is a member of, the California Sub-Class, which

22||is defined as follows:

23
4 All persons in California purchased a Patagonia Capilene®
Cool Daily and Tropic Comfort Product that did not have that
25 did not have the advertised 50+ UPF sun protection, and who
6 did not receive a full refund of monies paid within the four
years prior to filing the Complaint.
27
28 41. The National Class and California Sub-Class are jointly referred to as the

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CLASS ACTION COMPLAINT

 

 

 
 

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“Classes.”

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42. Excluded from the Classes are: (1) Defendant, any entity or division in
which Defendant has a controlling interest, and their legal representatives, officers,
directors, assigns, and successors; (2) the Judge to whom this case 1s assigned and the
Judge’s staff; (3) persons who have received a full refund for the Products from either
Defendant; and (4) those persons who have suffered personal injuries as a result of the
facts alleged herein.

43. Plaintiff reserves the right to redefine the Classes, including but not

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limited to expanding the class definition and adding one or more subclasses as

appropriate based on discovery and specific theories of liability.

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44. The Class that Plaintiff seeks to represent contains numerous members

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and is clearly ascertainable including, without limitation, by using Defendant’s

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records to determine the size of the Classes and to determine the identities of

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individual members of the Classes.

Numerosity
45. The members of the Classes are so numerous that joinder of all members

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would be unfeasible and impractical. The membership of the Class is currently

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unknown to Plaintiff at this time. However, on information and belief, the class is

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likely to consist of several thousands. Members of the Classes members can easily be

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identified through Defendants’ records. The disposition of their claims in a class action

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will provide substantial benefits to the parties and the Court.

Commonality

., 46. There are questions of law and fact common to the Classes that

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predominate over any questions affecting only individual members of the Classes.

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Those common questions of law and fact include, without limitation, the following:

i)
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a) Whether the Products were advertised as having 50+ UPF sun

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protection;

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b) Whether Defendant’s continue to advertise the Products as having 50+

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sun protection;

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CLASS ACTION COMPLAINT

 

 

 

 
 

 

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1 , c) Whether the Products did not in fact contain 50+ UPF sun protection;
) d) Whether Defendants’ conduct constituted an unfair business practice;
3 e) Whether Defendants’ conduct constituted an unlawful business
4 practice;

F f) Whether Defendants misrepresented their products to include
6 characteristics, uses, or benefits which they do not have;
7 g) Whether Defendants mispresented that their products were the subject
8 of a transaction, which had been supplied in accordance with previous
9 representations when they had not;
10 h) Whether Defendants’ conduct, practices, and misrepresentations
il related to the marketing, advertising, and sales of the Product was
12 unfair, deceptive, confusing, misleading, and/or unlawful in any
13 respect, thereby violating the UCL and other applicable state law;
14 i) Whether Defendants have reasonably advised consumers of its recall
15 relating to one or more of the Products;
16 j) Whether Plaintiff and the members of the Classes are entitled to
17 rescission, restitution, injunctive, declaratory, or other relief; and,
18 k) Whether members of the Classes are entitled to any such further relief
19 as the Court deems appropriate.
20 Typicality
1 47. Plaintiff. is qualified’ to, and will, fairly and adequately protect the
|| interests of each member of the Classes with whom they are similarly situated, and
93||Plaintiff's claims (or defenses, if any) are typical of all Class Members’ as
24\| demonstrated herein.
5 48. Plaintiff represents and is a Class member of the Class because Plaintiff
26\|paid Defendants money for Patagonia’s Women’s Tropic Comfort Hoody, which
27|| purported to provide 50+ UPF protection which later turned out to be false, and later
2g||recalled by Patagonia. Consequently, the claims of Plaintiff are typical of the claims
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CLASS ACTION COMPLAINT

 

 
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of Class Members and Plaintiff's interests are consistent with and not antagonistic to

those of the other Class Members whom Plaintiff seeks to represent.
49. Plaintiff and all members of the Classes have been impacted by, and face
continuing harm arising out of, Defendants’ violations or misconduct as alleged

herein.

Adequacy
50. Plaintiff is qualified to, and will, fairly and adequately protect the

interests of each Class member with whom Plaintiff is similarly situated, as
demonstrated herein. |

51. Plaintiff acknowledges that Plaintiff has an obligation to make known to
the Court any relationship, conflicts, or differences with any Class member.

52. Plaintiff's attorneys, the proposed class counsel, are versed in the rules
governing class action discovery, certification, and settlement. In addition, the
proposed class counsel is experienced in handling claims involving consumer actions
and violations of the causes of action asserted. Plaintiff has incurred, and throughout
the duration of this action, will continue to incur costs and attorneys’ fees that have
been, are, and will be, necessarily expended for the prosecution of this action for the
substantial benefit of each Class member.

53. Neither Plaintiff nor Plaintiff's counsel have any interests adverse to

those of the other Class Members.

Predominance .
54. Questions of law or fact common to the members of the Classes

predominate over any questions affecting only individual members of the classes. The
elements of the legal claims brought by Plaintiff and members of the Classes are
capable of proof at trial through evidence that is common to the class rather than

individual to its members.

Superiority
55. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy because individual litigation of the claims of

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CLASS ACTION COMPLAINT

 
 

 

 

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all Class Members is impracticable and questions of law and fact common to the

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Classes predominate over any questions affecting only individual members of the
Classes. Even if every individual Class member could afford individual litigation, the
court system could not. It would be unduly burdensome to the courts if individual
litigation of the numerous cases were to be required.

56. Individualized litigation also would present the potential for varying,

inconsistent, or contradictory judgments, and would magnify the delay and expense to

 

all parties and to the court system resulting from multiple trials of the same factual

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issues. By contrast, conducting this action as a class action will present fewer

management difficulties, conserve the resources of the parties and the court system,

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and protect the rights of each Class member. Further, it will prevent the very real harm

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that would be suffered by numerous Class Members who will be unable to enforce

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individual claims of this size on their own, and by Defendants’ competitors, who will

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be placed at a competitive disadvantage because they chose to obey the law. Plaintiff

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anticipates no difficulty in the management of this case as a class action.

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57. The prosecution of separate actions by individual Class Members may

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create a risk of adjudications with respect to them that would, as a practical matter, be

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dispositive of the interests of other Class Members not parties to those adjudications,

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or that would otherwise substantially impair or impede the ability of those non-party

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Class Members to protect their interests.

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58. The prosecution of individual actions by members of the Classes would

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establish inconsistent standards of conduct for Defendants.

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59. Defendants have acted or refused to act in ways generally applicable to

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the Classes, thereby making appropriate final and injunctive relief or corresponding

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declaratory relief with regard to members of the Class as a whole. Likewise,

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Defendants’ conduct as described above is unlawful, is capable of repetition, and will

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continue unless restrained and enjoined by the Court.

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60. The Classes may also be certified because:

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CLASS ACTION COMPLAINT

 

 

 
 

 

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(a) the prosecution of separate actions by individual Class Members would

5 create a risk of inconsistent or varying adjudication with respect to
3 individual Class Members, which would establish incompatible
4 standards of conduct for Defendants;
5 (b) the prosecution of separate actions by individual Class Members would
6 create a risk of adjudications with respect to them that would, as a
7 practical matter, be dispositive of the interests of other Class Members
8 not parties to the adjudications, or substantially impair or impede their
9 ability to protect their interests; and,
10 (c)Defendants have acted or refused to act on grounds generally
1] applicable to the Classes, thereby making appropriate final and
12 injunctive relief with respect to the members of the Classes as a whole.
13 61. This suit expressly is not intended to request any recovery for personal
14\|injury and claims related thereto.
15 .
16 FIRST CAUSE OF ACTION
17 VIOLATION OF CAL. CIv. CODE §§ 1750, ET SEQ.
18 [CALIFORNIA CONSUMERS LEGAL REMEDIES ACT (“CLRA”)]
19 [CALIFORNIA SUB-CLASS ONLY]
20 62. Plaintiff incorporates by reference all of the above paragraphs of this

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Complaint as though fully stated herein.

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63. Plaintiff brings this claim individually and on behalf of the members of

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the proposed California Sub-Class against Defendants.
64. The Consumers Legal Remedies Act (“CLRA’’) applies to Defendants’

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actions and conduct as described herein because it extends to transactions that are
26||intended to result, or which have resulted, in the sale of goods or services to
27|| consumers.

28 65. The CLRA prohibits unfair or deceptive practices in connection with the

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CLASS ACTION COMPLAINT

 

 

 

 

 
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sale of goods or services to a consumer.

66. The CLRA is meant to be “liberally construed and applied to promote its
underlying purposes, which are to protect consumers against unfair and deceptive
business practices and to provide efficient and economical procedures to secure such
protection.” Cal. Civ. Code § 1760.

67. Defendants are “persons” as defined by Cal. Civ. Code § 1761(c).

68. Plaintiff and each member of the California Sub-Class are “consumers”
as defined by Cal. Civ. Code § 1761(a). .

69. The Product constitutes a “good” within the meaning of Cal. Civ. Code
§ 1761(a).

70. Each of the purchases made by Plaintiff and the Class Members from the
Defendants were “Transactions” as defined by the CLRA. Cal. Civ. Code § 1761(e).

71. As described herein, Defendants have engaged in deceptive practices,
unlawful methods of competition, and/or unfair acts as defined by Cal. Civ. Code §§
1750 et seq., to the detriment of Plaintiff and the California Sub-Class.

72. Defendants, acting with knowledge, intentionally, and unlawfully
brought harm upon Plaintiff and the California Sub-Class by knowingly and/or
purposefully failing to properly disclose that the Product failed to meet the advertised
50+ UPF.

73. Defendants, acting with knowledge, intentionally, and unlawfully
brought harm upon Plaintiff and the Classes by knowingly and/or purposefully failing
to provide proper notice to all affected consumers and to provide refunds to all
consumers who purchased the Product.

74. Specifically, by not providing Plaintiff and members of the California
Sub-Class with a Product containing the advertised 50+ UPF and/or failing to properly
disclose the true nature of the Product’s sun protection abilities, Defendants violated
Cal. Civ. Code § 1750 in at least the following respects: ©

a) In violation of § 1770(a)(5), by representing that Defendants’ Product

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CLASS ACTION COMPLAINT

 
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has characteristics, uses, or benefits that it does not have;

b) In violation of § 1770(a)(7), by Defendants misrepresenting the
standard, quality or grade of the goods or service purchased;

c) In violation of § 1770(a)(9), Defendants advertising good or services
with the intent not to sell them as advertised; and,

_ d) In violation of § 1770(a)(14), by representing that payment to
Defendants for Product involves, remedies, or obligations that it does
not have or involve, or that are prohibited by law.

75. The facts concealed or not disclosed by Defendants to Plaintiff and the
California Sub-Class, including that the Product did not provide 50+ UPF sun
protection.

76. Plaintiff and the California Sub-Class reasonably expected that the
Product would live up to the advertised sun protection levels and/or that Defendants
would provide proper notice to all affected consumers of a voluntary recall concerning
the Product’s sun protection abilities.

77. Through the conduct or omissions detailed herein, Defendants
wrongfully induced Plaintiff and the other members of the California Sub-Class to pay
Defendants for the Product. However, Plaintiff and the California Sub-Class would
not have paid nor purchased the Product if they been warned that the Product did not
in fact have 50+ UPF protection.

78. Asa direct and proximate result of Defendants’ violations of Cal. Civ.
Code §§ 1750, et seq., Plaintiff and each member of the California Sub-Class have
suffered harm in the form of paying monies to Defendants for the Product, shipping
costs, and related offerings and Defendants’ retaining of said money when they
otherwise would not have paid for the Product if they knew its true sun protecting
abilities. .

79. Pursuant to California Civil Code § 1782(a), on or about October 22,
2021, Plaintiff sent to both Defendants, individually and on behalf of similarly situated

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CLASS ACTION COMPLAINT

 
 

 

 

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individuals across the nation and in California, a letter via Certified Mail, advising of

the violations of the CLRA alleged herein, and demanding that they cease and desist
from such violations and make full restitution by refunding the monies received
therefrom, and that Defendants provide reasonable and adequate notice to affected
customers in the form of a robust corrective advertising campaign.

80. In response to the demand, Patagonia asserted that Plaintiff should take
up the issue with Lost Coast Outfitters.

81. Also, Patagonia failed, within 30 days of receipt of-Plaintiff's demands,
to engage in a reasonable and adequate notice campaign to ensure that affected
consumers are on notice of the true nature of the Product’s sun protection capabilities.
For instance, upon information and belief, Patagonia did not to provide for any print
or online notices beyond a notice on its homepage, posts on its own social media, and
displays in its stores, nor did Patagonia offer to provide notice via print publication.

82. Additionally, Patagonia also failed, within 30 days of receipt of
Plaintiff's demands, to provide a full refund to consumers (like Plaintiff) who
purchased the Product after September 1, 2021 despite the Product still being
advertised as providing 50+ UPF sun protection.

83. Lost Coast Outfitters failed, within 30 days of receipt of Plaintiff's
demands, to provide Plaintiff with an adequate correction, repair, replacement, or
other remedy, and has offered no relief or cure for the members of the National or
California Sub-Class who are either unaware of the recall or have not received a full
refund. Indeed, upon information and belief, Lost Coast Outfitters has not posted on
its website any information about the Product recall.

84. Additionally, Lost Coast Outfitters has not engaged in, or unequivocally
offered to engage in, a reasonable and adequate notice campaign to ensure that affected
consumers are on notice of the true nature of the Product’s sun protection capabilities.
For instance, Lost Coast Outfitters did not to provide for a posting on its website and

in-store regarding the recall, nor did Lost Coast Outfitters offer to provide such notice

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CLASS ACTION COMPLAINT

 
 

 

 

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or unequivocally offer to provide such notice. Lost Coast Outfitters also did not offer

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to provide notice via print publication and/or online media publication.

85. Attached hereto as Exhibit A is a sworn declaration from Plaintiff
pursuant to Cal. Civ. Code § 1780(d).

86. Under Cal. Civ. Code § 1780(a) and (b), Plaintiff, individually and on
behalf of the California Sub-Class, seeks a public injunction requiring Defendants to
cease and desist the illegal conduct alleged in this Complaint, and all other appropriate

remedies for its violations of the CLRA.

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87. Specifically, Plaintiff, individually and on behalf of the California Sub-

Class, seeks an injunction, including but not limited to a public injunction, requiring

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11|| Defendants to: (1) cease and desist from selling the Product that was misrepresented
1248 Providing 50+ UPF sun protection on all printed publications, online
13]| 4dvertisements, and online descriptions of the Product (including but not limited to on
14|| lostcoastouttfitters.com); (2) provide direct notice of the Product’s recall to consumers
15|| who purchased the Product directly from each Defendant via mail and email notices
16|| or for whom Defendants have contact information; (3) issue a full refund to consumers
17 who purchased the Product within four years prior to the filing of the Complaint
1g|| (including after September 1, 2021); and (4) initiate a robust corrective advertising
19||cCampaign in California to inform consumers about the true nature of the Product,
|| including but not limited to posting the recall notice on the product specific pages on
|| Defendants’ websites and in physical retail stores of Defendants, and adequate printed
27\|notices and/or online media notices regarding the voluntary recall of the Products.

23 88. Plaintiff and California Sub-Class Members were harmed as a direct and
24|| proximate result of Defendants’ violations of the CLRA and are thus entitled to a
25|| declaration that Defendants violated the CLRA.

26 89. Pursuant to § 1782 (e), Plaintiff and the Class assert claims for actual

27|| damages, punitive damages, and attorneys’ fees and costs.

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CLASS ACTION COMPLAINT

 

 

 

 
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SECOND CAUSE OF ACTION

VIOLATION OF Bus. & PROF. CODE §§ 17200, ET SEQ.
[CALIFORNIA UNFAIR COMPETITION LAW (“UCL”)
[CALIFORNIA SUB-CLASS ONLY]

90. Plaintiff realleges and incorporate the allegations elsewhere in the
Complaint as if set forth in full herein.

91. Plaintiff brings this claim individually and on behalf of the members of
the proposed California Sub-Class against Defendants.

92. Defendants are subject to California’s Unfair Competition Law, Cal. Bus.
& Prof. Code §§ 17200, et seg. The UCL provides, in pertinent part: “Unfair
competition shall mean and include unlawful, unfair or fraudulent business practices
and unfair, deceptive, untrue or misleading advertising ....”

93. Defendants’ advertising that customers would receive a “fast-drying
fishing and travel hoody . . . that offers 50+ UPF protection,” is false and misleading
to a reasonable consumer, including Plaintiff, because the Product does not in fact
provide consumers with this level of protection against ultraviolet rays, yet Defendants
have not refunded all customers the monies they paid nor have all affected consumers
been properly notified about the true nature of this Product.

94. Upon information and belief, Defendants continue to charge their
customers for the Product, while deceiving consumer about the true nature of the its
purported ultraviolet ray protection.

95. Unlawful: The acts alleged herein are “unlawful” under the UCL in that
they violate, as described herein, at least the following laws: (1) the False Advertising
Law, Cal. Bus. & Prof. Code §§ 17500 et seq.; and (2) the Consumers Legal Remedies
Act, Cal. Civ. Code §§ 1750 et seq.

96. Fraudulent: A statement or practice is fraudulent under the UCL if it is
likely to deceive the public, applying a reasonable consumer test. As set forth herein,

Defendants’ representations regarding the marking of the Product as containing 50+

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CLASS ACTION COMPLAINT

 

 
 

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UPF sun protection are likely to deceive reasonable consumers and the public.
Defendant violated the “fraudulent” prong of the UCL by misleading Plaintiff and the
California Sub-Class to believe that they would receive 50+ UPF sun protection with
the purchase of the Product.

97. Unfair: Defendants’ conduct with respect to the advertising and sale of
the Product is unfair because its conduct was immoral, unethical, unscrupulous, or
substantially injurious to consumers and the utility of their conduct, if any, does not
outweigh the gravity of the harm to their victims.

98. Defendants’ business practices, described herein, violate the “unfair”
prong of the UCL in that its conduct is substantially injurious to consumers, offends
public policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity
of the conduct outweighs any alleged benefits.

99. Defendants’ advertising and promise to provide protection against
harmful ultraviolet rays, when in fact the Product provides significantly less sun
protection, is of no benefit to consumers.

100. Defendants’ conduct with respect to the advertising and sale of the
Product was also unfair because it violated California public policy as declared by
specific statutory or regulatory provisions, including but not limited to the FAL. and
CLRA.

101. Defendants’ conduct with respect to the advertising and sale of the
Product is also unfair because the consumer injury is substantial, not outweighed by
benefits to consumers or competition, and not one consumers themselves could
reasonably have avoided.

102. Plaintiff and the members of the California Sub-Class acted reasonably
when they purchased the Product based on the belief that they would be provided with
certain levels of protection against ultraviolet rays.

103. Defendants profited from the sale of its falsely, deceptively, and

unlawfully advertised the Product as having “50+ UPF sun protection” to unwary

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CLASS ACTION COMPLAINT

 
 

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consumers.

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104. Plaintiff and the California Sub-Class lost money or property as a result
of Defendant’s UCL violations because: (a) they would not have purchased or paid for
Defendants’ Product absent Defendants’ misrepresentations and omissions of a
warning that they would not in fact receive the certain levels of protection against
ultraviolet rays as promised by Defendants.

105. Plaintiff and California Sub-Class Members are likely to be damaged by

Defendants’ deceptive trade practices, as Defendants continues to disseminate, and are

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otherwise free to continue to disseminate, misleading information. Thus, injunctive

relief enjoining this deceptive practice is proper, and Defendants should be required

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to issue refunds to all members of the Classes within the four years prior to filing of

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the Complaint. Moreover, Defendants continue to mislead consumer by failing to

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adequately provide notice to affected consumers regarding the true nature of the

Product.

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106. Defendants’ conduct caused and continues to cause substantial injury to

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Plaintiff and the other California Sub-Class Members who have suffered concrete

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tangible injury in fact as a result of Defendants’ fraudulent, unlawful, and unfair

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conduct.

107. In accordance with Bus. & Prof. Code § 17203, Plaintiff, on behalf of

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herself, Class Members, and the general public, seeks an order enjoining Defendants

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from continuing to conduct business through unlawful, unfair, and/or fraudulent acts

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and practices, and to commence a corrective advertising campaign.

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108. Plaintiff, on behalf of themselves and members of the California Sub-

Class, also seeks an order for the restitution of all monies from the sale of the falsely

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advertised Product that Defendants unjustly acquired through acts of unlawful

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competition.

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109. Plaintiff and the California Sub-Class have suffered damages in an

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amount to be determined at trial. Plaintiff and the California Sub-Class request the

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CLASS ACTION COMPLAINT

 

 

 

 
 

 

 

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Court enter an order awarding them mandatory restitution.

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110. Plaintiff and the California Sub-Class therefore also seek pre-and-post-
judgment interest and attorneys’ fees and costs as allowed by statute, including
without limitation those recoverable under Cal. Code Civ. Proc. § 1021.5, any
common law “private attorney general” equitable doctrine, any “common fund”
doctrine, any “substantial benefit” doctrine, and/or any equitable principles of

contribution and/or other methods of awarding attorneys’ fees and costs.

THIRD CAUSE OF ACTION

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VIOLATION OF Bus. & PROF. CODE §§ 17500, ET SEQ.

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[CALIFORNIA FALSE ADVERTISING LAw (“UCL”)]

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[CALIFORNIA SUB-CLASS ONLY]

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111. Plaintiff realleges and incorporates the allegations elsewhere in the

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Complaint as if set forth in full herein.

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112. Plaintiff brings this claim individually and on behalf of the members of

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the proposed California Sub-Class against Defendant.
113. Cal. Bus. & Prof. Code §§ 17500, et seg., makes it “unlawful for any

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person to make or disseminate or cause to be made or disseminated before the public

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in this state, ... in any advertising device ... or in any other manner or means whatever,

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including over the Internet, any statement, concerning ... personal property or services,

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professional or otherwise, or performance or disposition thereof, which is untrue or

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misleading and which is known, or which by the exercise of reasonable care should

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be known, to be untrue or misleading.”

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114. Defendants sold customers the Product that was advertised as containing

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“50+ UPF protection” when in fact this is not true. In fact, Patagonia later admitted to

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such inaccurate advertising in its voluntary recall conceding that the Product only

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CLASS ACTION COMPLAINT

 

 

 
 

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averaged about 34 UPF.’ Defendants’ advertising and marketing of the Product as

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having “50+ UPF protection” misrepresented and/or omitted the true content and

 

nature of the Product. Defendants knew or should have known that these statements
were unauthorized, inaccurate, and misleading.

115. Defendants’ advertising that the Product contained “50+ UPF protection”
made purchasers of that Product believe they would be able to protect themselves from
harmful ultraviolet rays; however, this statement is false and misleading to a

reasonable consumer, including Plaintiff, because the Product does in fact not have

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the 50+ UPF protection that it purported to provide.
116. Defendants violated § 17500, et seg. by misleading Plaintiff and the

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California Sub-Class to believe that they would have access 50+ UPF protection when

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purchasing the Product.

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117. Defendants knew, or should have known through the exercise of

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reasonable care, that advertising the Product as having “50+ UPF protection” is false

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and misleading because the Product was not able to provide 50+ UPF protection, rather

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it was only able to provide 17-45 UPF.

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118. Further, Defendants knew or should have known that they were

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defrauding and/or misleading customers when the Product continued to be sold with

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the description that the Product offered “50+ UPF protection” even after Patagonia

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issued a voluntary recall due to this false and misleading description of the Product.

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119. Plaintiff and the California Sub-Class lost money or property as a result

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of Defendants’ FAL violations because: (a) they would not have purchased or paid for

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the Product absent Defendant’s misrepresentations and omissions regarding the

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? Outside Business Journal, RECALL: Patagonia sun protection products, (July 1,
2021), — https://www.outsidebusinessjournal.com/brands/camping-and-hiking/recall-
patagonia-sun-protection-products/; see also
https://7news.com.au/lifestyle/recalls/patagonia-shirts-hoodies-and-face-masks-
urgently-recalled-over-uv-radiation-exposure-concerns-c-3341635 (last visited Oct.
22, 2021).

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CLASS ACTION COMPLAINT

 

 

 

 
 

 

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Products 50+ UPF sun protection; (b) they would not have purchased or paid for

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Defendants’ Product on the same terms absent Defendant’s misrepresentations and
omissions; and (c) Defendants’ representations regarding the Product decreased the
value of the Product to Plaintiff and California Sub-Class.

120. Under the FAL, “[i]t is unlawful for any person, firm, corporation or
association, or any employee thereof with intent directly or indirectly to dispose of
real or personal property or to perform services” to disseminate any statement “which

is untrue or misleading, and which is known, or which by the exercise of reasonable

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care should be known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500.

121. Plaintiff and the Class suffered tangible, concrete injuries in fact as a

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result of Defendants’ actions as set forth herein because they purchased the Product in

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reliance on Defendants’ false and misleading marketing claims that they would receive

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50+ UPF protection when purchasing the Product.

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122. Defendants’ business practices as alleged herein constitute unfair,

deceptive, untrue, and misleading advertising pursuant to the FAL because Defendants

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advertised the Product in a manner that is untrue and misleading, which Defendants

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knew or reasonably should have known.

 

 

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18 123. Defendants profited from the sales of the falsely and deceptively
j9||advertised Product, and its purported UPF protection to unwary and believing
2Q| consumers.

21 124. As a result, pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff and
7||California Sub-Class Members are entitled to injunctive and equitable relief and
73|| restitution.

24 125. Plaintiff and the California Sub-Class have suffered damages in an
25|}amount to be determined at trial.

26 126. Plaintiff and the California Sub-Class request the Court enter an order
27|| awarding them mandatory restitution.

28 127. Plaintiff and the California Sub-Class therefore also seek pre-and-post-

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CLASS ACTION COMPLAINT

 

 
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judgment interest and attorneys’ fees and costs as allowed by statute, including

without limitation those recoverable under Cal. Code Civ. Proc. § 1021.5, any
common law “private attorney general” equitable doctrine, any “common fund”
doctrine, any “substantial benefit” doctrine, and/or any equitable principles of

contribution and/or other methods of awarding attorneys’ fees and costs.

FOURTH CAUSE OF ACTION
NEGLIGENT MISREPRESENTATION
[NATIONAL CLASS AND CALIFORNIA SUB-CLASS]

128. Plaintiff realleges and incorporates the allegations elsewhere in the
Consolidated Complaint as if set forth in full herein.

129. Plaintiff brings this claim individually and on behalf of the members of
the proposed National Class and California Sub-Class against Defendants.

130. As set forth herein, Defendants misrepresented that purchasers of the
Product would receive certain protection against ultraviolet rays. However, Patagonia
recalled the Product for failing to provide such protection, conceding that it did not in
fact provide 50+ UPF protection. Instead, the Product offered only 17-45 UPF of sun
protection. As such, Defendants misrepresented the nature of the Product to Plaintiff
and the Class Members.

131. At the time Defendants made these misrepresentations, Defendants knew
or should have known that these misrepresentations were false. Defendants at least
negligently misrepresented and or negligently omitted material facts about the
purchase of the Product.

132. In providing the Product to Plaintiff and the members of the Classes,
Defendants owed a duty to exercise reasonable care to make full, fair, and adequate
disclosure in connection with the characteristics, uses, benefits, standards, quality,
attributes, and nature of the Product. This duty included, among other things, taking

reasonable measures to protect the rights of Classes in compliance with applicable

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CLASS ACTION COMPLAINT

 
 

 

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law, including, but not limited to, procedures and policies to supervise, restrict, limit,

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and determine the accuracy and truthfulness of their representations, materials, and
advertising in connection with their services.

133. In providing the Product to Plaintiff and the Classes, Defendants owed a
duty to exercise reasonable care regarding and when making their representations in
connection with the characteristics, uses, benefits, ‘standards, quality, attributes, and
nature of their services. It was foreseeable that if Defendants did not take reasonable
measures to ascertain and ensure the accuracy and truthfulness of their representations,

Plaintiff and the members of the Classes would rely on its representations and

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purchase the Product they thought would provide certain levels of protection against

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ultraviolet rays. Defendants should have known to take precautions to ensure its

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advertising, materials, and representations were accurate.

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134. The negligent misrepresentations and omissions made by Defendants,

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upon which Plaintiff and members of the Classes reasonably, justifiably, and

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detrimentally relied, were intended to induce and influence, and actually induced and

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influenced, Plaintiff and Class Members to purchase the Product. Plaintiff and the

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Classes would not have purchased the Product if the true facts had been known. The

negligent actions and misrepresentations of Defendants caused actual and tangible

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concrete injury and harm to Plaintiff and the members of the Classes who are entitled to

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damages and other legal and equitable relief as a result.

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135. Defendants’ negligence was a substantial factor in causing harm to Plaintiff

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and Class Members. As a direct and proximate cause and result of Defendants’ failure to

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exercise reasonable care and use reasonable measures to ensure the accuracy of its

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representations and advertising, Plaintiff and the Classes have suffered actual

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injury-in-fact and economic damages, including incurring Product related costs that they

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would not have otherwise incurred and paid.

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136. Neither Plaintiff nor other members of the Classes contributed to the

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unlawful conduct set forth herein, nor did they contribute to Defendants’ making of its

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CLASS ACTION COMPLAINT

 

 

 
 

 

 

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misrepresentation, nor to the insufficient policies, procedures, and measures which were
omitted and led to the failure to ensure the accuracy and truthfulness of Defendants’
claims in connection with the nature of their services.

137. Plaintiff and the members of the Classes request the Court enter an order
awarding Plaintiff and the members of the Classes mandatory restitution, rescission,
and/or damages, and that they are entitled to recover their reasonable attorneys’ fees.
Plaintiff and the members of the Classes therefore also seek pre-and-post-judgment

interest and attorneys’ fees and costs as allowed by statute, including without

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limitation those recoverable under Cal. Code Civ. Proc. § 1021.5, any common law
10|| Private attorney general” equitable doctrine, any “common fund” doctrine, any

ll “substantial benefit” doctrine, and/or any equitable principles of contribution and/or

 

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< jg |/other methods of awarding attorneys’ fees and costs.
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fe 14 FIFTH CAUSE OF ACTION
= INTENTIONAL MISREPRESENTATION
< 15 [NATIONAL CLASS AND CALIFORNIA SUB-CLASS]
16 120. Plaintiff realleges and incorporates the allegations elsewhere in the

17] Complaint as if set forth in full herein.

18 121. Plaintiff brings this claim individually and on behalf of the members of
19||the proposed National Class and California Sub-Class against Defendants. .
20 122. As set forth herein, Defendants misrepresented that purchasers of the
21|/Product would receive 50+ UPF protection. However, Defendants knew that the
22 Product did not in fact provide 50+ UPF protection following Patagonia’s voluntary.
23] Yet, Defendants continued to advertise and sell the Product, and failed to properly
24llinform affected consumers of the true nature of this Product. As such, Defendant
25] misrepresented the nature of the purchases by Plaintiff and the members of the Classes.
26 123. These misrepresentations were made with knowledge of their falsehood
27||with the intent that the general public, including Plaintiff and the members of the

28] Classes, would rely upon them, or in reckless disregard of the truth thereof. Defendants

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CLASS ACTION COMPLAINT

 

 

 

 

 

 
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knew, or should have known, that Plaintiff, Class Members, and consumers would rely

on the product description of the Product and expect such reasonable ultraviolet
protection when purchasing the Product.

124. Defendants knowingly failed to provide purchasers of the Product with
their promised ultraviolet protection.

125. Plaintiff and the members of the Classes were harmed because Defendants
made a false promise to them. Defendants did not intend to perform their promises
under the product description of the Product.

126. Defendants were aware that Plaintiff and members of the Classes would
rely on the Product’s advertisement and description when deciding to purchase the
Product.

127. Plaintiff and the members of the Classes reasonably relied on the
description and advertisement of the Product when they made their purchases, and as
such, reasonably relied on the promises made therein. Defendants did not perform their
obligations under the product description of the Product namely by failing to provide
purchasers with 50+ UPF protection.

128. Plaintiff and the members of the Classes were harmed. Plaintiff's and the
members of the Classes’ reliance on Defendants’ representations was a substantial
factor in causing them harm.

129. The misrepresentations made by Defendants upon which Plaintiff and
members of the Classes reasonably and justifiably relied were widely disseminated,
were an integral part of the contract, and were intended to induce and actually induced
Plaintiff and members of the Classes to purchase the Product.

130. Plaintiff and members of the Classes would not have purchased the
Product on the same terms, if the true facts had been known. The fraudulent actions of
Defendants caused damage to Plaintiff and the members of the Classes, who are entitled
to damages and other legal and equitable relief as a result.

131. Plaintiff and members of the Classes request the Court enter an order

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CLASS ACTION COMPLAINT

 
 

 

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awarding Plaintiff and the members of the Classes mandatory restitution, rescission,

and/or actual damages, punitive and exemplary damages, and that they are entitled to
recover their reasonable attorneys’ fees.

132. Plaintiff and the members of the Classes therefore also seek pre-and-post-
judgment interest and attorneys’ fees and costs as allowed by statute, including without
limitation those recoverable under Cal. Code Civ. Proc. § 1021.5, any common law
“private attorney general” equitable doctrine, any “common fund” doctrine, any

“substantial benefit” doctrine, and/or any equitable principles of contribution and/or

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other methods of awarding attorneys' fees and costs.

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SIXTH CAUSE OF ACTION
UNJUST ENRICHMENT
[NATIONAL CLASS AND CALIFORNIA SUB-CLASS]

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133. Plaintiff incorporates by reference all of the above paragraphs of this

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14 Complaint as though fully stated herein.

15 134. Plaintiff brings this claim individually and on behalf of the members of
<= 16} the Classes against Defendants.

M7 135. “Under California law, the elements of unjust enrichment are: (a) receipt

18 of a benefit; and (b) unjust retention of the benefit at the expense of another.” Valencia

191, Volkswagen Grp. Of Am. Inc., No. 15-CV-00887-HSG, 2015 WL 4747533 at *8

20! (ND. Cal. Aug. 11, 2015).

1 136. Plaintiff and members of the Classes conferred non-gratuitous benefits

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upon Defendants by purchasing the Product, thereby significantly increasing

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Defendants’ revenue and profits, thereby unjustly enriching Defendants at the expense

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of and to the detriment of Plaintiff and members of the Classes.

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137. Defendants’ retention of any benefit collected from Plaintiff's and

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members of the Classes’ payments to Defendants, either directly or indirectly, violated

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principles of justice, equity, and good conscience. Thus, Defendants have been unjustly

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CLASS ACTION COMPLAINT

 

 

 

 

 
 

 

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enriched and Plaintiff and members of the Classes are entitled to recover from

 

Defendants all amounts that Defendants have wrongfully and improperly obtained.

3 138. Asa result of Defendant’s unlawful practices, Plaintiff and members of
4 the Classes have suffered concrete harm and injury. Plaintiff and members of the
5 Classes are therefore entitled to seek disgorgement and restitution of wrongful profits,
6|| revenue, and benefits conferred upon Defendants in a manner established by this Court.
7 139. Plaintiffs and members of the Classes request the Court enter an order
g awarding Plaintiff and the members of the Classes, restitution, damages, and that they
g||are entitled to recover their reasonable attorney’s fees.

10 140. Plaintiffs and members of the Classes therefore also seek pre-and-post-
il judgement interest and attorney’s fees and costs as allowed by statute, including
12|| Without limitation those recoverable under Cal. Code Civ. Proc. § 1021.5, any common
13||law “private attorney general” equitable doctrine, any “common fund” doctrine, any
14|| ‘substantial benefit” doctrine, and/or any equitable principles of contribution and/or
15|| other methods of awarding attorney’s fees and costs.

16 PRAYER FOR RELIEF

17 WHEREFORE, Plaintiff, on behalf of herself and members of the Classes, prays
18] for the following relief against Defendants, and each of them: |
19 e That this action be certified as a Class Action, establishing the Classes and
20 any appropriate sub-classes that the Court may deem appropriate;

al e Appointing Plaintiff as the representative of the Classes;

22 e Appointing the law firms representing Plaintiff as Class Counsel;

23 e That the Court find and declare that Defendants have violated the UCL and
24 committed unfair, unlawful, and/or deceptive business practices;

2 e An order requiring Defendants to pay restitution to Plaintiff and the Class due
26 to Defendant’s UCL violations, pursuant to Cal. Bus. & Prof. Code §§ 17200-
iM 17205 in the amount of the money paid to Defendants not refunded;

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CLASS ACTION COMPLAINT

 

 
 

 

 

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e An order requiring imposition of a constructive trust and and/or
disgorgement of Defendants’ ill-gotten gains and to pay restitution to
Plaintiff and all members of the Classes and to restore to Plaintiff and
members of the Classes all funds acquired by means of any act or practice
declared by this court to be an unlawful, fraudulent, or unfair business act or
practice, in violation of laws, statutes or regulations, or constituting unfair
competition; .

e An Order enjoining, including through public injunctive relief, the

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Defendants from continuing the wrongful conduct alleged herein;

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An Order requiring, including through public injunctive relief, the

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Defendants provide reasonable and adequate notice to members of the

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Classes of the wrongful conduct alleged herein, including by initiating a

robust corrective advertising campaign to inform consumers about the true

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nature of the Product, to include direct mail / email notice where feasible;

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posting the recall notice on the product specific pages on Defendants’

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= 16 websites and in physical retail stores of Defendants; and printed notices
"17 and/or online media notices regarding the voluntary recall of the Product;

18 e An Order requiring Defendants to accept returns of the Product by all
19 members of the Classes in exchange for full a refund of all monies paid, for
20 Products purchased during the entire Class Period, including after September
21 1, 2021;
22 e Actual damages;
23 e Punitive damages;
24 e Costs of suit;
25 e Pre-Judgment and Post-Judgment interest;
26 e Actual damages, punitive damages, and attorneys’ fees and costs pursuant.to
27 California Civil Code § 1782(e);
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CLASS ACTION COMPLAINT

 

 

 

 
 

 

 

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e An award of reasonable attorneys’ fees for Plaintiff and the Class pursuant to

Code of Civil Procedure § 1021.5, and California Civil Code § 1780, the

private attorney general doctrine, and/or any other applicable law; and,
e Any and all other relief as this Court may deem necessary or appropriate.

JURY DEMAND

141. Pursuant to the Seventh Amendment to the Constitution of the United

States of America, Plaintiff is entitled to, and demands, a trial by jury.
Dated: December 22, 2021 Respectfully submitted,

KAZEROUNI LAW GROUP, APC

ABBAS KAZEROUNIAN, ESQ.
ak@kazlg.com
ATTORNEY FOR PLAINTIFF

Additional Plaintiff's Counsel
KAZEROUNI LAW GROUP, APC
Jason A. Ibey, Esq. (284607)
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CLASS ACTION COMPLAINT

 

 

 
 

 

 

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Exhibit A — ,

 

 
 

 

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« DECLARATION OF MANAL ALEISA
I, MANAL ALEISA, DECLARE:

1. On or about September 11, 2021, I purchased an Patagonia’s Women’s Tropic
Comfort Hoody (the ‘“‘Product’).

2. At the time of my payment and review of the Product, I was in Orange County,
California, where I also reside.

3. Also, it is my understanding that Defendants, Patagonia, Inc. and Lost Coast

Outfitters, LLC do business in the County of Orange, State of California.

1 declare under penalty of perjury under the laws of California that the

foregoing is true and correct, and that this declaration was executed on
December 22 ~, 2021.

By: CT LCL
MANAL ALEISA

 

 

 

 

DECLARATION PURSUANT TO CAL. CIV. CODE §1780(D)

 
 

 

 

 

——Case. 8:22-cv-00195-JLS-KES. Dacument 1 . Filed.02/0722 _Page_44 of 65 Page ID #:44

 

 

4] ATTORNEY OR PARTY WITHOUT BN 349903) State Bar number, and address):

Electronically Filed by Superior Court of California, County of Orange, 12/22/2021 03:53:47 PM ,
2021-01238022-CU-BT-CXC - ROA #3 - DAVID H_ YAMASAKI Clerk of the Court By Georgina Ramirez, Deputy CMrR10

 

|— Abbas Kazerounian (SBN: 2
Kazerouni Law Group, APC
245 Fischer Ave., Suite D1

“Costa Mesa, CA 92626

TELEPHONE No.: 800-400-6808 raxno. 800-520-5523
ATTORNEY FOR (Name): Plaintiff, Manal Aleisa
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
STREET aDpRess: 75] W. Santa Ana Blvd.
MAILING appress: 751 W. Santa Ana Blvd.
city ano zip cove: Santa Ana, CA 92701
BRANCH NAME: Civil Complex Center

 

 

 

 

 

 

 

CASE NAME:
Alesia v. Patagonia, Inc., et al.
Wun CASE er SHEET Complex Case Designation CASE NUMBER:
Unlimited Limited : - -CU-BT-
(Amount (Amount [_] counter [__] Joinder | 30 2021 01238022-CU-BT-CXC |
demanded demanded is Filed with first appearance by defendant | °° Judge Peter Wilson
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:
Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case: 6 Awa
Auto Tort Contract Provisionally Complex Civil Litigation
Auto (22) [__] Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) L_] Rule 3.740 collections (09) CL] AntitrusUTrade regulation (03)
Other PI/PD/WD (Personal Injury/Property L_] Other collections (09) [_] Construction defect (10)

Damage/Wrongful Death) Tort
Asbestos (04)
Product liability (24)

Insurance coverage (18) L_] Mass tort (40)
i, Other contract (37) L Securities litigation (28)

Real Property Environmental/Toxic tort (30)

 

 

Medical malpractice (45) [__] Eminent domain/inverse Insurance coverage claims arising from the
L_] other PyPDAWD (23) condemnation (14) above listed provisionally complex case
Non-PI/PD/WD (Other) Tort [L_] wrongful eviction (33) types (41)
[4] Business tort/unfair business practice (07) [_] other real property (26) Enforcement of Judgment
[_] ivi rights (08) Unlawful Detainer [] Enforcement of judgment (20)
(_] Defamation (13) Commercial (31) Miscellaneous Civil Complaint
L_] Fraua (16) (__] Residential (32) L_] rico (27)
[_] intellectual property (19) ‘ LJ Drugs (38) L_] other complaint (not specified above) (42)
(__] Professional negligence (25) Judicial Review Miscellaneous Civil Petition
LJ Other non-PI/PD/WD tort (35) L_] Asset forfeiture (05) Partnership and corporate governance (21)
Employment L_] Petition re: arbitration award (11) C_] Other petition (not specified above) (43)
Wrongful termination (36) | Writ of mandate (02)
[__] other employment (15) [] Other judicial review (39)

 

2. This case iv] is | isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. LJ Large number of separately represented parties d. CL] Large number of witnesses

b. Extensive motion practice raising difficult or novel _—e. LJ Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court

c. [/] Subsiantial amount of documentary evidence f. LJ Substantial postjudgment judicial supervision

Remedies sought (check all that apply): al] monetary b.[/] nonmonetary; declaratory or injunctive relief —c. [AV ]punitive
Number of causes of action (specify): 6; Unfair Business Practices

This case is LJ isnot aclass action sult.
. If there are any known related cases, file and serve a notice of related case, (Yoy may use form CM-015.)
Date: December 22, 2021

Abbas Kazerounian >

Daw

 

 

 

(TYPE OR PRINT NAME) ! ZL) (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

 

 

NOTICE

e Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions.

© File this cover sheet in addition to any cover sheet required by local court rule.

If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

e Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

ag'

 

 

je 1 of 2
Form Adopted for Mandatory Use Cal. Rules of Court, niles 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of Califomia CIVIL CASE COVER S HEET Cal. Standards of Judicial Administration, std. 3.10

CM-010 [Rev. July 1, 2007] www.courtinfo.ca.gov

American LegalNet, inc,
www.FormsWorkflow.com

 

 
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¥-00195-JILS-KES Document1 Filed 02/07/22 Page 45 of 65 Page ID #:45

CM-01

INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET °
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A “collections case” under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. !n complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. !f a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex.

Auto Tort

Auto (22)}-Personal Injury/Property
Damage/Wrongful Death

Uninsured Motorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)

Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful! Death)
Tort

Asbestos (04)

Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death

Product Liability (not asbestos or
toxic/environmental) (24)

Medical Malpractice (45)

Medicai Malpractice—
Physicians & Surgeons

Other Professional Health Care
Malpractice

Other PI/PD/WD (23)

Premises Liability (e.g., slip
and fall)

intentional Bodily injury/PD/WD
(e.g., assault, vandalism)

Intentional Infliction of
Emotional Distress

Negligent Infliction of
Emotional Distress

Other PI/PD/WD

Non-PU/PD/WD (Other) Tort
Business Tort/Unfair Business
Practice (07)

Civil Rights (e.g., discrimination,
false arrest) (not civil
harassment) (08)

Defamation (e.g., slander, libel)

(13)

Fraud (16)

intellectual Property (19)

Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice

(not medical or legal)

Other Non-Pl/PD/WD Tort (35)

Employment
Wrongful Termination (36)
Other Employment (15)

CM-010 (Rev. July 1, 2007)

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach—Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contract/Warranty
Collections (e.g., money owed, open
book accounts) (09)
Collection Case—Seller Plaintiff
Other Promissory Note/Coliections
Case
Insurance Coverage (not provisionally
complex) (18)
Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminent Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.g., quiet title) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, landlord/tenant, or
foreclosure)

Unlawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Heaith Officer Order
Notice of Appeal—Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

Provisionally Complex Civil Litigation (Cal.
Rules of Court Rules 3.400-3.403)
Antitrust/Trade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complex
case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
Other Enforcement of Judgment
Case
Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
Injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commerciai Complaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-tort/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adult
Abuse
Election Contest
Petition for Name Change
Petition for Relief From Late
Claim
Other Civil Petition

Page 2 of 2
 

 

 

Case'8:22-EV-00T9

 

 

 

 

 

 

 

GUIDELINES

ALL COMPLEX CIVIL DEPARTMENTS

Welcome to the Complex Civil Litigation Program. Orange County Superior Court is
one of six courts designated by the California Judicial Council as pilot project courts to
handle solely complex civil litigation. These pilot courts were established to apply case
management principles to improve the effective administration of justice by reducing the
time and expense normally associated with the litigation of complex civil cases. It has
been our experience that these principles make it easier to prepare these cases for trial
by providing a more orderly framework for the pre-trial phase of the litigation.

. The result is a greater opportunity for early case resolution through mediation and
settlement, and improving the way complex cases are tried by encouraging the use of
technology.

Counsel's familiarity with the applicable California Rules of Court [“Local Rules’), Local
Rules — Superior Court of California, County of Orange, and these Guidelines is
expected. The Guidelines should answer most procedural questions and assist you in
feeling comfortable in our courtrooms.

CourTROoM DEMEANOR, CONDUCT AND ETIQUETTE

Counsel are expected to adhere to the provisions of the California Attorney Guidelines
of Civility and Professionalism. (State Bar of the State of California, adopted July 20,
. 2007, attached to these Guidelines as Appendix 1.)

 

  

 
 

 

 

 

 

 

 

|. GENERAL MATTERS

1. When issued by the court, the provisions of the Case Management Order in the
particular action shall govern over these Guidelines. Procedural matters not
provided for in these Guidelines or in a Case Management Order shall be
governed by the pertinent provisions of the California statutes, the California
Rules of Court, and the California Standards of Judicial Administration. The
purpose of these Guidelines is to supplement but not contradict the law
governing civil procedure.

2. The Superior Court of California, County of Orange has established a system
for e-filing in accordance with Code of Civil Procedure §1010.6 and California
Rules of Court, rule 2.250 et seq. All papers filed in complex civil cases must
be electronically filed unless a party has been specifically excused by the Court
from the requirement, pursuant to the Local Rules — Superior Court of
California, County of Orange (‘local rules’), rule 308. To register for the
program and to obtain additional information, go to:
www.occourts.org/complexcivil/ .

3. Cross-complainants must serve a copy of these guidelines and give notice of
any scheduled hearings and depositions at the time the cross-complaint is
served.

4. Information about filing requirements or fees is available on the court's Internet
home page at: http:/Awww.occourts.org, or by telephone at (657) 622-5314.
The local rules are available on the court's public internet home page.

5. Telephone appearances are conducted through CourtCall, pursuant to the
provisions of California Rules of Court, Rule 3.670. Parties are encouraged to
seek further information concerning guidelines and protocols from CourtCall at
(310) 342-0888 or (888) 88-COURT.

ll. Initial Case Management Conference:

The Initial Case Management Conference shall take place in conformance with the
requirements set forth in California Rules of Court, rule 3.750. The Initial Case
Management Conference is generally scheduled approximately 90 days after the action
is filed. Plaintiff is required to give notice of this conference date to all other parties.
Thereafter, Status Conferences shail be set in consultation with the Court, according to
the needs of the parties.

lll. Case Management Conference and Status Conference Statements:

The judges of the Civil Complex Center have determined that Judicial Council form CM-
110, Civil Case Management Statement required by California Rules of Court, Rule
3.725(c) for some civil cases, is inadequate to provide the judges the information they
need when determining how a particular complex case should be managed. Form CM-
110 should not be used in any action designated or provisionally designated as

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complex. Instead, the parties shall file with the court either a Case Management
Conference Statement or a Status Conference Statement as described below.

Counsel must file an updated Conference Statement for each Case Management or
Status Conference. The Conference Statement is due no later than 5 court days prior
to the hearing.

A Status Conference Statement may be filed as an alternative to the Case Management
Conference Statement when appropriate. A Status Conference Statement is generally
less detailed than a Case Management Conference Statement and is to be used to
advise the court of progress or developments in the case which have occurred since the
last review hearing.

A joint statement of the parties is preferred by the court whenever possible.
IV. Case MANAGEMENT ORDERS:

Case Management Orders are not required in all cases, but they may be helpful in
cases where the sequencing and timing of key events is necessary in the management
of the litigation and preparation of the case for trial. However, even if a Case
Management Order is not necessary in a particular case, all complex cases must be
managed by counsel, or the court, or both.

The goal of case management is to bring about a just resolution as speedily and
economically as possible. To be effective, case management should be tailored to the
needs of the particular litigation and to the resources available; make-work activity
should be avoided. The parties or the court should develop and monitor an effective
plan for the orderly conduct of pretrial and trial proceedings. A case management plan
should prescribe a series of procedural steps, with firm dates, giving direction and order
to the case as it progresses through pretrial proceedings to summary disposition or trial.
The setting of interim time limits and deadlines is often a necessary part of an effective
case management plan.

V. LAW AND MOTION:

1. Meet and Confer: This court adopts the view that pre-filing conferences
between counsel may be useful in avoiding useless or unnecessary motions.
Therefore, prior to the hearing of any motion, petition or application, except
applications to appear pro hac vice and motions to withdraw as counsel of
record, all counsel and parties appearing in propria persona shall confer ina .
good faith attempt to eliminate the necessity of the hearing or resolve as many
disputes as possible.

Counsel for the moving party shall arrange the conference to meet and confer
and, at least 3 calendar days before the hearing, file with the court a statement
entitled “Meet and Confer,” summarizing the issues remaining in dispute and
the respective positions taken.

 

 
 

 
 

 

2. Tentative Rulings: Members of the Complex Civil Panel may publish tentative
law and motion rulings by any system described in Local Rule 382.

3. Off Calendars and Continuances: In order to promote judicial economy and
avoid wasting court resources, counsel for moving parties must notify the
courtroom clerk as soon as possible if any matter will be taken off calendar.
Stipulations between the parties to continue a matter must be approved by the
court.

Vi. Ex PARTE APPLICATIONS:

1. The court’s consideration of an ex parte application will not interfere with or
delay any trial in progress. The moving party is expected to adhere to the
provisions of California Rules of Court, Rule 3.1200 — 3.1207. All papers
necessary to the determination of the application, including any proposed
pleading, motion or order, must be submitted with the ex parte application.
Counsel should contact the courtroom clerk to verify any specific deadlines for
the submission of moving papers or other preferences applicable to that
department. Counsel may also contact the courtroom clerk to inquire if oral
argument will be permitted, or if the court will rule based on the application and
any written opposition.

2. The application shall include a declaration of Notice of Ex Parte Hearing and a
proposed order; and shall state in the notice the irreparable harm, immediate
danger or other basis for ex parte relief that will result if the requested relief is
not granted until a regularly noticed motion may be heard.

Vil. MANDATORY SETTLEMENT CONFERENCES (“MSC’s”):
Compliance with Local Rule 316 is required.

All of the judges at the Civil Complex Center are willing to help another judge in the
settlement of a complex case depending upon the judge’s available calendar. If the
parties agree to have a mandatory settlement conference conducted by a judge other
than the assigned judge, the parties should first determine the other judge’s availability
before asking the assigned judge to order the settlement conference. However, it is not
presumed that the judge to whom a case is assigned should not conduct the mandatory
settlement conferences in his or her cases. {ff a party objects to the trial judge’s
participation in the MSC, the party must advise the judge or the courtroom clerk of its
objection prior to the setting of the MSC. Counsel are advised to check with the court to
determine its preference in this regard.

Vill. Pre-trial Conferences

1. A Pre-trial Conference may be scheduled 30-90 days before trial for the
purpose of determining the readiness of the parties and —_— resolving procedural
issues concerning the trial. The goal of the Pre-trial Conference is to make the
trial proceed as predictably and smoothly as possible. The Pre-trial

 

 

 
 

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Conference is not a substitute for the Issues Conference required by
Local Rule 317.

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2. At the Pre-trial Conference, counsel should be prepared to state whether his or
her client will be using the electronic presentation of evidence at the trial. Using
electronic equipment to present evidence at trial requires preparation,
organization and cooperation by the parties. The court expects that the parties
will work together in devising a protocol for the pre-marking of exhibits by using
prefixes or a super-numeration system to designate the proponent of the
evidence. Where there are multiple pages to a single exhibit, each page should
be bates-stamped. Counsel should contact the courtroom clerk to determine if
the trial judge has a specific preference for how exhibits should be marked.

3. In a case where it is reasonable to presume voluminous documents will be
produced during discovery, counsel are urged to agree upon a protocol for the
pre-marking of exhibits at the earliest time possible, preferably before the
initiation of discovery and delivery to a document depository. It is less
expensive to mark and index voluminous documents as they are deposited
than when it is done on the eve of trial.

4. Counsel are required to cooperate throughout the trial so that one party's
electronic exhibits are available to the other side to display during cross-
examination.

5. The electronic version of documents, photographs, charts or other
demonstrative evidence may be substituted for the actual exhibit at trial upon
the stipulation of the parties and order of the court. This guideline is not meant
to alter the rules of discovery or the obligation of a party to make available the
Original of a document for inspection by another party through discovery or at
the Issues Conference.

6. Physical exhibits and documents are not required to be presented in a
digitalized format. However, evidence which has not been presented in
electronic form customarily will be ordered by the court returned at the end of
the appeal period to the party which offered it. Before trial commences, counsel
will be asked to sign a stipulation for the return and maintenance of the exhibits.
Plaintiff will maintain joint exhibits unless the court orders otherwise.

IX. Use of the Court’s Evidence Presentation Systems

1. On-Site Electronic Evidence Presentation Systems: Every courtroom has
the capability of being equipped with court-based evidence presentation
systems for use by the parties. Counsel are strongly encouraged to take
advantage of the benefits of the electronic presentation of evidence when in
trial at the Civil Complex Center to enhance the orderly and effective
presentation of evidence, reduce concerns about the custody and security of
exhibits, and reduce the work and expense associated with the tagging, storing
and transporting of exhibits. In an appropriate case, the court may require the

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use of an electronic evidence presentation system. [Electronic evidence
presentation systems must be compatible with the court's infrastructure (video
distribution amplifier, wiring, conduit, floor receptacles and connectors).

2. Electronic Evidence Standard Format: Counsel presenting evidence that is
exclusively electronic in form must present the evidence in PDF file format and
stored on CD-R. Whenever evidence is presented electronically, the physical
custody of exhibits by the clerk is replaced by the electronic record of the
exhibits. Evidence must be in sequential order with the exception of JPEG and
MPEG files which shall be stored on separate discs. Counsel may also prepare
electronic evidence using alternate non-proprietary formats subject to the
approval of the court. The compact discs (CDs) must be labeled as follows:

Case #

Case Name
Exhibits _ to
(Original or Backup copy)

 

The courtroom clerk will maintain an updated exhibit list. When evidence is
electronically presented at the trial, the court may require counsel to
periodically submit to the clerk an up-to-date CD containing exhibits received
into evidence.

it is counsels’ responsibility to identify and track redactions, modifications, and
substitution of exhibits. Counsel are expected to be prepared to submit an up-
to-date evidence CD with all redactions, modifications, and substitutions, as
well as impeachment documents used, upon the courtroom clerk’s request.

Impeachment exhibits are not pre-marked. However, counsel are responsible
for having the document electronically recorded upon being offered into
evidence (exhibit numbers may be reserved for this purpose).

lf the jury will be provided the evidence in electronic format for its deliberation,
the parties are required to meet and confer and submit the final joint exhibit list
containing only those exhibits received into evidence. The CD used by the
jurors must include the joint exhibit list and the electronically stored exhibits
which have been entered into evidence. Submission of the joint evidence CD
also serves as a stipulation that all exhibits presented in electronic form to the
jury are complete and correct. Any disagreement must be brought to the
attention of the court at the earliest reasonable time. Counsel must lodge two
(2) evidence CDs of all exhibits received into evidence.

X. TRIALS — MOTIONS IN LIMINE

Counsel should attempt to resolve evidentiary disputes at the Local Rule 317 issues
Conference before resorting to filing a motion in limine. It is frequently more productive
of court time, and the client's money for counsel to informally address at the Issues
Conference the issues which could be raised in motions in limine and, instead of a
motion, present a stipulation to the court on uncontested issues. Matters of day-to-day

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trial logistics and common professional courtesy should not be the subject of motions in
limine. These are matters of common professional courtesy that should be accorded
counsel in all trials. See, Kelly v. New West Federal Savings (1996) 49 Cal.App.4""
659,671.

APPENDIX 1
California Attorney Guidelines of Civility and Professionalism
(Abbreviated, adopted July 20, 2007)

INTRODUCTION. As officers of the court with responsibilities to the administration of justice, attorneys have an obligation to be professional
with clients, other parties and counsel, the courts and the public. This obligation includes civility, professional integrity, personal dignity,
candor, diligence, respect, courtesy, and cooperation, all of which are essential to the fair administration of justice and conflict resolution.

These are guidelines for civility. The Guidelines are offered because civility in the practice of Law promotes both the effectiveness and the
enjoyment of the practice and economical client representation. The legal profession must strive for the highest standards of attorney behavior
to: elevate and enhance our service to justice. Uncivil or unprofessional conduct not only disserves the individual involved, it demeans the
profession as a whole and our system of justice.

These voluntary Guidelines foster a level of civility and professionalism that exceed the minimum requirements of the mandated Rules of
Professional Conduct as the best practices of civility in the practice of law in California. The Guidelines are not intended to supplant these or
any other rules or laws that govern attorney conduct. Since the Guidelines are not mandatory rules of professional conduct, nor rules of practice,
nor standards of care, they are not to be used as an independent basis for disciplinary charges by the State Bar or claims of professional
negligence.

The Guidelines are intended to complement codes of professionalism adopted by bar associations in California. Individual attommeys are
encouraged to make these guidelines their personal standards by taking the pledge that appears at the end. The Guidelines can be applicable to
all lawyers regardless of practice area. Attorneys are encouraged to comply with both the spirit and letter of these guidelines, recognizing that
complying with these guidelines does not in any way denigrate the attorney's duty of zealous representation.

 

SECTION 1. The dignity, decorum and courtesy that have traditionally characterized the courts and legal profession of civilized nations are not
empty formalities. They are essential to an atmosphere that promotes justice and to an attomey's responsibility for the fair and impartial
administration of justice.

SECTION 2. An attomey should be mindful that, as individual circumstances permit, the goals of the profession include improving the
administration of justice and contributing time to persons and organizations that cannot afford legal assistance.

An attomey should encourage new members of the bar to adopt these guidelines of civility and professionalism and mentor them in applying
the guidelines.

SECTION 3. An attorney should treat clients with courtesy and respect, and represent them in a civil and professional manner. An attorney
should advise current and potential clients that it is not acceptable for an attomey to engage in abusive behavior or other conduct unbecoming
a member of the bar and an officer of the court.

As an officer of the court, an attomey should not allow clients to prevail upon the attorney to engage in uncivil behavior.

An attomey should not compromise the guidelines of civility and professionalism to achieve an advantage.

SECTION 4. An attomey's communications about the legal system should at all times reflect civility, professional integrity, personal dignity,
and respect for the legal system. An attorney should not engage in conduct that is unbecoming a member of the Bar and an officer of the court.

Nothing above shall be construed as discouraging the reporting of conduct that fails to comply with the Rules of Professional Conduct.
SECTION 5. An attorney should be punctual in appearing at trials, hearings, meetings, depositions and other scheduled appearances.

SECTION 6. An attorney should advise clients that civility and courtesy in scheduling meetings, hearings and discovery are expected as
professional conduct.

In considering requests for an extension of time, an attomey should consider the client's interests and need to promptly resolve matters, the
schedules and willingness of others to grant reciprocal extensions, the time needed for a task, and other relevant factors.

Consistent with existing law and court orders, an attorney should agree to reasonable requests for extensions of time that are not adverse
toa client's interests.

 

 

 
 

 

 

 

SECTION 7. The timing and manner of service of papers should not be used to the disadvantage of the party receiving the papers.

SECTION 8. Written materials directed to counsel, third parties or a court should be factual and concise and focused on the issue to be decided.

 

 
 

- Case.8-22-Cv-00195-JLS-KES...pocument 1 Filed 02/07 /22.-Page-54 of 65 Dane ID #:54 ___

 

 

 

 

 

 

SECTION 9. Attorneys are encouraged to meet and confer early in order to explore voluntary disclosure, which includes identification of issues,
identification of persons with knowledge of such issues, and exchange of documents.

Attomeys are encouraged to propound and respond to formal discovery in a manner designed to fully implement the purposes of the
California Discovery Act. '

An attorney should not use discovery to harass an opposing counsel, parties or witnesses. An attorney should not use discovery to delay the
resolution of a dispute.

SECTION 10. An attorney should consider whether, before filing or pursuing a motion, to contact opposing counsel to attempt to informally
resolve or limit the dispute.

SECTION 11. It is important to promote high regard for the profession and the legal system among those who are neither attorneys nor litigants.
An attomey's conduct in dealings with nonparty witnesses should exhibit the highest standards of civility.

SECTION [2. in a social setting or otherwise, an attorney should not communicate ex parte with a judicial officer on the substance of a case
pending before the court, unless permitted by law.

SECTION 13. An attorney should raise and explore with the client and, if the client consents, with opposing counsel, the possibility of settlement
and alternative dispute resolution in every case as soon possible and, when appropriate, during the course of litigation.

SECTION I4. To promote a positive image of the profession, an attorney should always act respectfully and with dignity in court and assist the
court in proper handling of a case.

SECTION I5. An attomey should not take the default of an opposing party known to be represented by counsel without giving the party advance
warning.

SECTION I6. An attorney should avoid even the appearance of bias by notifying opposing counselor an unrepresented opposing party of any
close, personal relationships between the attorney and a judicial officer, arbitrator, mediator or court-appointed expert and allowing a reasonable
opportunity to object.

SECTION 17. An attorney should respect the privacy rights of parties and non-parties.

SECTION 18. An attorney should negotiate and conclude written agreements in a cooperative manner and with informed authority of the client.

In addition to other applicable Sections of these Guidelines, attorneys engaged in a transactional practice have unique responsibilities because
much of the practice is conducted without judicial supervision.

SECTION 19. in addition to other applicable Sections of these Guidelines, in family law proceedings an attomey should seek to reduce emotional
tension and trauma and encourage the parties and attorneys to interact in a cooperative atmosphere, and keep the best interests of the children in
mind.

SECTION 20. in addition to other applicable Sections of these Guidelines, criminal law practitioners have unique responsibilities. Prosecutors are
charged with seeking justice, while defenders must zealously represent their clients even in the face of seemingly overwhelining evidence of
guilt. In practicing criminal law, an attorney should appreciate these roles.

SECTION 21. Judges are encouraged to become familiar with these Guidelines and to support and promote them where appropriate in court
proceedings.

 

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ATTORNEY ’S PLEDGE. I commit to these Guidelines of Civility and Professionalism and will be guided by a sense of integrity, cooperation
and fair play.

I will abstain from rude, disruptive, disrespectful, and abusive behavior, and will act with dignity, decency, courtesy, and candor with opposing
counsel, the courts and the public.

As part of my responsibility for the fair administration of justice, I will inform my clients of this commitment and, in an effort to help promote the
responsible practice of law, I will encourage other attorneys to observe these Guidelines.

(Rev. May 4, 2010)

 

 

 
 

 

 

SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE

ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKAGE

NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the
ADR Information Package along with the complaint and/or cross-complaint.

California Rules of Court — Rule 3.221
Information about Alternative Dispute Resolution (ADR)

(a) Each court shall make available to the plaintiff, at the time of filing of the complaint,
an ADR Information Package that includes, at a minimum, all of the following:

(1) General information about the potential advantages and disadvantages of ADR
and descriptions of the principal ADR processes.

(2) Information about the ADR programs available in that court, including citations to
any applicable local court rules and directions for contacting any court — staff
responsible for providing parties with assistance regarding ADR.

(3) Information about the availability of local dispute resolution programs funded
under the Dispute Resolutions Program Act (DRPA), in counties that are
participating in the DRPA. This information may take the form of a list of the
applicable programs or directions for contacting the county’s DRPA coordinator.

(4) An ADR stipulation form that parties may. use to stipulate to the use of an ADR
process.

(b) A court may make the ADR Information Package available on its website as longas
paper copies are also made available in the clerk’s office.

(c) The plaintiff must serve a copy of the ADR Information Package on each defendant
along with the complaint. Cross-complainants must serve a copy of the ADR
Information Package on any new parties to the action along with the cross-complaint.

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SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE

ADR Information
Introduction.

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
a trial. ADR can also give people more opportunity to determine when and how their dispute will be
resolved.

BENEFITS OF ADR.

Using ADR may have a variety of benefits, depending on the type of ADR process used and the
circumstances of the particular case. Some potential benefits of ADR are summarized below.

Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
months, even weeks, while bringing a lawsuit to trial can take a year or more.

Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.

Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
allow the parties to choose an expert in a particular field to decide the dispute.

Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a_ dispute. For
example, an experienced mediator can help the parties effectively communicate their needs and point of
view to the other side. This can be an important advantage where the parties have a relationship to
preserve. :

Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
advantages, may increase the parties’ overall satisfaction with both the dispute resolution process and the
outcome.

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Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as problem-
solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to produce
happier clients and thus generate repeat business from clients and referrals of their friends and associates.

DISADVANTAGES OF ADR.
ADR may not be suitable for every dispute.
Loss of protections. If ADR is binding, the parties normally give up most court protections, including a

decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
appellate court.

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-Case 8:22-cv-00195-JLS-KES_Document1. Filed 02/07/22. Page 57 of 65. PageJD-#:57——._ _-_

 

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Less discovery. There generally is less opportunity to find out about the other side’s case with ADR
than with litigation. ADR may not be effective if it takes place before the parties have sufficient
information to resolve the dispute.

Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
through ADR, the parties may have to put time and money into both ADR and alawsuit.

Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
a dispute is in an ADR process.

TYPES OF ADR IN CIVIL CASES.

The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
conferences.

Arbitration. In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from
each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
means that the parties waive their right to a trial and agree to accept the arbitrator's decision as __ final.
Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
parties are free to request a trial if they do not accept the arbitrator's decision.

Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
want another person to decide the outcome of their dispute for them but would like to avoid the
formality, time, and expense of a trial. It may also be appropriate for complex matters where the
parties want a decision-maker who has training or experience in the subject matter of the dispute.

Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
more favorable result at trial than in arbitration, there may be penalties.

Mediation. In mediation, an impartial person called a "mediator" helps the parties try to reach a mutually
acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
with the parties.

Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
parties have a relationship they want to preserve. So when family members, neighbors, or business
partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
them communicate with each other in an effective and nondestructive manner.

Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
the parties have a history of abuse or victimization.

Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
each party's evidence and arguments and about how the dispute could be resolved. The evaluator is

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often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
parties typically use it as a basis for trying to negotiate a resolution of the dispute.

Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
appropriate in cases in which there are technical issues that require special expertise to resolve or
the only significant issue in the case is the amount of damages.

Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
appropriate when there are significant personal or emotional barriers to resolving the dispute.

Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
"settlement officer” to discuss possible settlement of their dispute. The judge or settlement officer does
not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
case and in negotiating a settlement. Settlement conferences are appropriate in any case where
settlement is an option. Mandatory settlement conferences are often held close to the date acase is set
for trial.

ADDITIONAL INFORMATION.

In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
likely to resolve your dispute.

To locate a dispute resolution program or neutral in your community:
« Contact the California Department of Consumer Affairs, Consumer Information Center, toll free, at
1-800-852-5210
e Contact the Orange County Bar Association at (949) 440-6700
e Look inthe telephone directories under “Arbitrators” or “Mediators”

Low cost mediation services are provided under the Orange County Dispute Resolution Program Act
(DRPA). For information regarding DRPA, contact:

e OC Human Relations (714) 480-6575, mediator@ochumanrelations.org
e Waymakers (949) 250-4058

For information on the Superior Court of California, County of Orange court ordered arbitration program,
refer to Local Rule 360. .

The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
(ENE). For the Civil Mediation program, mediators on the Court’s panel have agreed to accept a fee of

$300 for up to the first two hours of a mediation session. For the ENE program, members of the Court’s
panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
programs is available on the Court’s website at www.occourts.org.

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Case 8-22-TV-001T95-JLS-KES

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ATTORNEY OR PARTY WITHOUT ATTORNEY:

NAME:

FIRM NAME:
STREET ADDRESS:
CITY:

TELEPHONE NO.:

"E-MAIL ADDRESS:

ATTORNEY FOR (name):

STATE BAR NO.:: FOR COURT USE ONLY

For your protection
STATE: ZIP CODE: and privacy, please
FAX NO:: press the Clear This
, Form button after you

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE form.

JUSTICE CENTER:

OJ Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045

O) Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana, CA 92701-4512

O) Harbor - Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
O) North - 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500

O West — 8141 13" Street, Westminster, CA 92683-4593

are done printing this

 

PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:

 

 

ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION CASE NUMBER:

 

 

 

Plaintiff(s)/Petitioner(s),

 

 

and defendant(s)/respondent(s),

 

 

agree to the following dispute resolution process:

{_] Mediation

{_] Arbitration (must specify code)

{_] Under section 1141.11 of the Code of Civil Procedure
{_] Under section 1280 of the Code of Civil Procedure

{_] Neutral Case Evaluation

The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case

was referred, whichever is sooner.

{_]I have an Order on Court Fee Waiver (F W-003) on file, and the selected ADR Neutral(s) are eligible to

provide pro bono services.

{ |The ADR Neutral Selection and Party List is attached to this Stipulation.

We understand that there may be a charge for services provided by neutrals. We understand that participating in
an ADR process does not extend the time periods specified in California Rules of Court, rule 3.720 et seq.

Date:

 

(SIGNATURE OF PLAINTIFF OR ATTORNEY) (SIGNATURE OF PLAINTIFF OR ATTORNEY)

Date:

 

(SIGNATURE OF DEFENDANT OR ATTORNEY) (SIGNATURE OF DEFENDANT OR ATTORNEY) -

 

ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION

Approved for Optional Use
L1270 (Rev. March 2019)

California Rules of Court, rule 3.221

 
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POS-010
ATTORNEY OR PARTY WITHOUT ATTORNEY: FOR COURT USE ONLY
Pamela E. Prescott, Esq. (SBN 328243)
Kazerouni Law Group, APC
245 Fischer Ave.
Suite Dl
Costa Mesa, CA 92626
TELEPHONE NO.: (800) 400-6808 FAX NO.: (800) 520-5523
ATTORNEY FOR: Plaintiff
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 751 W. Santa Ana Blvd.
MAILING ADDRESS:
CITY AND ZIP CODE: Santa Ana, 92701
BRANCH NAME: Civil Complex Central
PLAINTIFF: Manal Aleisa CASE NUMBER:
DEFENDANT: Patagonia, Inc. 30-2021-01238022-CU-BT-CXC
Ref. No. or File No.:
PROOF OF SERVICE OF SUMMONS Aleisa v. Patagonia, Inc.

 

 

 

(Separate proof of service is required for each party served.)

1. At the time of service | was at least 18 years of age and not a party to this action.
| served copies of:

a

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PLIES

summons

complaint

Alternative Dispute Resolution (ADR) package

Civil Case Cover Sheet (served in complex cases only)
cross-complaint

other (specify documents):

Complex Dept Guidelines

o
©

. Party served (specify name of party as shown on documents served):

Patagonia, Inc.

b Dx]

Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
under item 5b on whom substituted service was made)

CT Corp., Agent for Service, Daisey Montenegro / Authorized Person

4. Address where the party was served:
330 N. Brand Blvd., Ste. 700, Glendale, CA 91203

5. | served the party (check proper box)

a [xX]
b. [|]

by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date):01/06/2022 (2) at (time):12:25 PM

by substituted service. On (date): at (time): | left the documents listed in item 2 with
or in the presence of (name and title or relationship to person indicated in item 3):

(1) [ (business) a person at least 18 years of age apparently in charge at the office or usual place of
business of the person to be served. | informed him or her of the general nature of the papers.

(2) [__] (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
place of abode of the party. | informed him or her of the general nature of the papers.

(3) [ ] (physical address unknown) a person at least 18 years of age apparently in charge at the usual
mailing address of the person to be served, other than a United States Postal Service post office box. |
informed him or her of the general nature of the papers.

(4) [] | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
at the place where copies were left (Code Civ. Proc., 415.20). _| mailed the documents on
(date): from (city): or[__]|a declaration of mailing is attached.

(5) [__] | attached a declaration of diligence stating actions taken first to attempt personal service.

Page 1 of 2

Form Adopted for Mandatory Use

Judicial Council of California
POS-010 [Rev. January 1, 2007}

PROOF OF SERVICE OF SUMMONS Job Number SNO-2022000153
Case 8:22-cv-00195-JLS-KES Document1 Filed 02/07/22 Page 61o0f65 Page ID #:61

 

PLAINTIFF: Manal Aleisa CASE NUMBER:
DEFENDANT: Patagonia, Inc. 30-2021-01238022-CU-BT-CXC

 

 

 

 

c. [__] bymail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the
address shown in item 4, by first-class mail, postage prepaid,

(1) on (date): (2) from (city):
(3) [] with two copies of the Notice and Acknowledgement of Receipt and a postage-paid return envelope

addressed to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,
415.30.)

(4) [__] to an address outside California with return receipt requested. (Code Civ. Proc., 415.40.)
d. [| by other means (specify means of service and authorizing code section):

[__] Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:

a. [_]  asan individual defendant.

b. [| as the person sued under the fictitious name of(specify):
c. {| as occupant.

d. [X] Onbehalf of(specify): Patagonia, Inc.

under the following Code of Civil Procedure section:
[X_] 416.10 (corporation)
[___] 416.20 (defunct corporation)
[| 416.30 (joint stock company/association)
[J 416.40 (association or partnership)
[___] 416.50 (public entity)

415.95 (business organization, form unknown)
416.60 (minor)

416.70 (ward or conservatee)

416.90 (authorized person)

415.46 (occupant)

other:

UU

7. Person who served papers
a. Name:Delbert Salgado

Firm:Sano Attorney Service

Address:P.O. Box 1568, Riverside, CA 92502

Telephone number: (909) 425-2248

The fee for the service was: $71.50

| am:

(1) [-_] nota registered California process server.

(2) [ exempt from registration under Business and Professions Code section 22350(b).

(3) [x ] a registered California process server:
(i) [__] owner [__] employee [X ] independent contractor.
(ii) Registration No.:PSC2448
(iii) County:Orange

oaos

8. [x] | declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

or
9. [__] lama California sheriff or marshal and | certify that the foregoing is true and correct.

Date: /a/2>

Delbert Salgado > CBhlub

(NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL) (SIGNATURE)

Page 2 of 2

 

Form Adopted for Mandatory Use

pos-b10 [Rev January 1 2007] PROOF OF SERVICE OF SUMMONS Job Number SNO-2022000153
Case 8:22-Cv-00195-JLS-KER Dome Up rst Oe IEGRNBES 62 of 65 Page ID #:62

COUNTY OF ORANGE
CIVIL COMPLEX CENTER

MINUTE ORDER

DATE: 01/20/2022 TIME: 01:33:00 PM DEPT: CX102

JUDICIAL OFFICER PRESIDING: Peter Wilson
CLERK: Eric Yu

REPORTER/ERM:

BAILIFF/COURT ATTENDANT:

CASE NO: 30-2021-01238022-CU-BT-CXC CASE INIT.DATE: 12/22/2021
CASE TITLE: Aleisa vs. Patagonia, Inc.
CASE CATEGORY: Civil - Unlimited CASE TYPE: Business Tort

 

EVENT ID/DOCUMENT ID: 73682777
EVENT TYPE: Chambers Work

 

APPEARANCES

 

There are no appearances by any party.

The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
dispose of this case will exceed twenty-four months due to the following case evaluation factors of
California Rules of Court, rules 3.715 and 3.400: Case is Complex.

Each party who has not paid the Complex fee of $1,000.00 as required by Government Code § 70616
shall pay the fee to the Clerk of the Court within 10 court days from date of this minute order. Failure to
pay required fees may result in the dismissal of complaint/cross-complaint or the striking of responsive
pleadings and entry of default.

The Status Conference is scheduled for 04/29/2022 at 09:00 AM in Department CX102.

Plaintiff shall, at least 5 court days before the hearing, file with the Court and serve on all parties of
record or known to Plaintiff a brief, objective summary of the case, its procedural status, the contentions
of the parties and any special considerations of which the Court should be aware. Other parties who think
it necessary may also submit similar summaries 3 court days prior to the hearing. DO NOT use the CMC
(Case management Statement) form used for non-complex cases (Judicial Council Form CM-110).

All proposed orders (including those submitted pursuant to stipulation) must be submitted in 2 electronic
formats. One copy is to be filed in Word (without attachments), and another copy in .pdf format with all
attachments/exhibits attached to it. Failure to follow this rule may result in the proposed order not being
brought to the attention of the Court in a timely fashion. Ensure that the proposed order is identified as a
"Proposed Order.”

Additional departmental information may be obtained by visiting the Court’s website at:

COMPLEX CIVIL DEPARTMENT GUIDELINES —

 

DATE: 01/20/2022 MINUTE ORDER Page 1
DEPT: CX102 Calendar No.
CASE TITEE: Misia vs. Patagoniaing ument + Filed CRG eS esb2 ota 3BG25-CUABT-Cxc

http://www.occourts.org/directory/civil/complex-civil/department-guidelines.pdf

 

COMPLEX CIVIL COURTROOM SCHEDULE & REQUIREMENTS - ADDITIONAL GUIDELINES FOR
CX102 - http:/Awww.occourts.org/directory/civil/complex-civil/calendar-schedule/civil-panel-schedule.html

CIVIL TENTATIVE RULINGS - http://www.occourts.org/directory/civil/tentative-rulings/

This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352. Plaintiff shall give notice of the Status Conference and the electronic filing requirement to all
parties of record or known to plaintiff, and shall attach a copy of this minute order.

Clerk to give notice to Plaintiff and Plaintiff to give notice to all other parties.

 

DATE: 01/20/2022 MINUTE ORDER Page 2
DEPT: CX102 Calendar No.
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LAW GROUP, APC

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1} KAZEROUNI LAW GROUP, APC
Abbas Kazerounian, Esq. (249203)

2 ak@kazlg.com
3| Pamela E. Prescott, Esq. (SBN: 328243)

pamela@kazlg.com

4) 245 Fischer Avenue, Unit D1
5| Costa Mesa, CA 92626
Telephone: (800) 400-6808
6| Facsimile: (800) 520-5523

Attorneys for Plaintif,,
g| Manal Aleisa

SUPERIOR COURT OF THE STATE OF CALIFORNIA

10
COUNTY OF ORANGE —- UNLIMITED CIVIL

11

MANAL ALEISA, Case No.: 30-2021-01238022-CU-BT-CXC
12) Individually and On Behalf of All
13| Others Similarly situated

PROOF OF SERVICE OF

\4 Plaintiff, JANUARY 20, 2022 MINUTE
15 ORDER RE: INITIAL STATUS
6 V. CONFERENCE
17|. PATAGONIA, INC., and

LOST COAST OUTFITTERS,
18) LLC
19
20 Defendants.

 

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PROOF OF SERVICE

 
K AZEROUNI
LAW GROUP, APC

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Case 8:22-cv-00195-JLS-KES Document1 Filed 02/07/22 Page 65of65 Page ID #:65

PROOF OF SERVICE

I am a resident of the State of California, over the age of eighteen years, and not a party to the
within action. My business address is Kazerouni Law Group, APC, 245 Fischer Avenue, Suite
5| D1, Costa Mesa, CA 92626. On January 21, 2022, I served the within document(s):

6 e JANUARY 20, 2022 MINUTE ORDER RE: INITIAL STATUS
7 CONFERENCE
8 [X] MAIL - by placing the document(s) listed above in a sealed envelope with postage

thereon fully prepaid, in the United States mail at Costa Mesa, California addressed as
9 set forth below.

10 Patagonia, Inc.
i CT Corporation System (Agent for service of process)
330 N Brand Blvd 6 WH
12 Glendale 91203
13 Defendant Patagonia, Inc.
14 I am readily familiar with the firm's practice of collection and processing correspondence

for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that same
day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
16| motion of the party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

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17
I declare under penalty of perjury under the laws of the State of California that the above

18) is true and correct. Executed on January 21, 2022, at Costa Mesa, California.

° (ula (Rewer

20 PAMELA E. PRESCOTT

 

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PROOF OF SERVICE

 
